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                   IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA
                                      - - -
                FLEETWOOD SERVICES,        :CIVIL ACTION
                LLC, ROBERT L.             :
                FLEETWOOD, and             :
                PAMELA A. FLEETWOOD,       :
                Individually and on        :
                behalf of all others       :NO. 18-CV-00268
                similarly situated,        :(JS)
                         Plaintiffs        :
                                           :
                     vs.                   :
                                           :
                COMPLETE BUSINESS          :
                SOLUTIONS GROUP,           :
                INC. D/B/A Par             :
                Funding; JOHN AND          :
                JANE DOES,                 :
                         Defendant.        :


                                    - - -
                           Oral Deposition of JOSEPH
              LaFORTE, taken pursuant to notice, held at
              WHITE AND WILLIAMS, LLP, 1800 One Liberty
              Place, 1650 Market Street, Philadelphia,
              Pennsylvania 19102, on December 5, 2019,
              beginning at 10:00 a.m., before Kathleen
              Jastrzembski, Court Reporter-Notary Public,
              there being present.
                                         - - -




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         1    APPEARANCES:
         2
         3                 WHITE AND WILLIAMS, LLP
                           BY: JUSTIN PROPER, ESQUIRE
         4                      SHANE HESKIN, ESQUIRE
                           1800 One Liberty Place
         5                 1650 Market Street
                           Philadelphia, PA 19103
         6                 Phone: 215-864-7142
                           Representing the Defendant
         7
         8                 FOX ROTHSCHILD, LLP
                           BY: BRETT BERMAN, ESQUIRE
         9                 2000 Market Street
                           Floor 20th Floor
        10                 Phone: 215-299-2842
                           Bberman@foxrothschild.com
        11                 Representing the Defendant
        12
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         2    Witness

         3           Joseph LaForte

         4    EXAMINATION BY:                                PAGE

         5           Mr. Proper                               5

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         2                 THE COURT REPORTER: Usual

         3    stipulations?

         4                 ALL COUNSEL:        Yes.

         5                             - - -

         6                 (It is hereby stipulated and

         7    agreed by and between counsel for

         8    respective parties that reading, signing,

         9    sealing, certification and filing are

        10    waived and that all objections, except as

        11    to the form of questions, be reserved until

        12    the time of trial.)

        13                             - - -

        14                 JOSEPH LaFORTE, after having been

        15    first duly sworn, was examined and

        16    testified as follows:

        17                             - - -

        18                          EXAMINATION

        19                             - - -

        20    BY MR. PROPER:

        21    Q.           Good morning, Mr. LaForte, how

        22    are you?

        23    A.           Pretty good.

        24    Q.           Good.     My name is Justin Proper.


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         1    I'm an attorney from the Law Firm of White

         2    and Williams, you're currently at our

         3    offices.     I represent the plaintiffs in a

         4    lawsuit that's been commenced against CBSG,

         5    Complete Business Solutions Group,

         6    Incorporated doing business as PAR Funding,

         7    and John and Jane Does, investors of CBSG.

         8                 Are you aware of this lawsuit?

         9    A.           Yeah.

        10    Q.           Where are you currently employed?

        11    A.           I work for a consulting company

        12    called Recruiting and Marketing Resources.

        13    Q.           How long have been you worked at

        14    Recruiting and Marketing Resources?

        15    A.           Seven years now.

        16    Q.           Over th past seven years, have

        17    you done any consulting work for companies

        18    other than Recruiting and Marketing

        19    Resources?

        20    A.           No.

        21    Q.           Have you ever been employed by a

        22    company by the name of Complete Business

        23    Solutions Group?

        24    A.           No.


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                                                                         Page 7
         1    Q.           Have you ever been employed by a

         2    company that does business by the name of

         3    PAR Funding?

         4    A.           No.

         5    Q.           Have you ever done any consulting

         6    work for either Complete Business Solution

         7    Group or PAR Funding?

         8    A.           I mean, I don't know how to

         9    answer that question.

        10                 MR. BERMAN:     Say you don't

        11    understand.

        12                 THE WITNESS:      I don't understand

        13    the question.

        14    BY MR. PROPER:

        15    Q.           Well, you do consulting work for

        16    a company by the name of Recruiting and

        17    Marketing --

        18    A.           The question is tricky because

        19    Recruiting and Marketing Resources is a

        20    sale on, and it could be contrude that CBSG

        21    and PAR Funding work together, so I don't

        22    want to answer the question wrong.            So I

        23    don't understand the question.

        24    Q.           That's fair.      So why don't you


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         1    tell me in more detail what Recruiting and

         2    Marketing Resources does?

         3    A.           Consulting for different types of

         4    products and services that small businesses

         5    might be able to take advantage of in the

         6    market.

         7    Q.           How does that company, Recruiting

         8    and Marketing Resources, inner play, if at

         9    all by CBSG?

        10    A.           Well, it inner plays with a lot

        11    of different lenders in the industry, from

        12    Pay Pal to On Deck Capital to Amazon to PAR

        13    Funding, to many of the companies that you

        14    guys know of in the industry.          There's no

        15    specific relationship in the sense that

        16    it's one of our lenders that we like to use

        17    to fund deals.

        18    Q.           So walk me through what you do

        19    for Recruiting and Marketing Resources?

        20    A.           I manage a sales office that

        21    takes in clients, breaks down information

        22    to make sure that it's properly formatted

        23    before it goes to a lender.          And after it

        24    goes to a lender, I make sure that the deal


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         1    is prudently done, and I see if the client

         2    would like to purchase the deal.

         3    Q.           So you are looking for

         4    prospective borrowers; is that fair?

         5    A.           No, I don't look for the

         6    prospective borrowers.

         7    Q.           Who -- is Recruiting and

         8    Marketing Resources a broker for lenders?

         9    A.           No.

        10    Q.           So what specific services does

        11    Recruiting and Marketing Resources do,

        12    let's say for CBSG?

        13    A.           I'm a broker for different ISO's.

        14    So, independent sales operators send us

        15    business and we place the business.            It's

        16    financial technologies.

        17    Q.           So, do you work for an ISO

        18    company?

        19    A.           No.

        20    Q.           Are you an independent sales rep?

        21    A.           No.

        22    Q.           So why don't you explain for the

        23    record what an ISO is?

        24    A.           There's a lot of different ways


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        1    to become an ISO.       You can be a syndicate,

        2    you can be a broker, there's a lot of

        3    different ways you can explain an ISO.            I'm

        4    not an ISO, so I couldn't explain it.

        5    Q.          What is your understanding as to

        6    what an ISO does as it relates to your

        7    consulting work with Recruiting and

        8    Marketing Resources?

        9    A.          Sources deals for different

       10    merchants throughout the country.

       11    Q.          Sources deals in what respect?

       12    What's that mean, sources deals?

       13    A.          Same way you source deals here,

       14    right?    They source deals, you call

       15    clients, you can co-call, you can use

       16    different marketing techniques to get

       17    business, so independent sales operators

       18    source business in order to get funding.

       19    Q.          Okay, so an ISO may source

       20    business and bring that to Recruiting and

       21    Marketing Resources, right?

       22    A.          Correct.

       23    Q.          So by sourcing business, is that

       24    anything more than finding someone that


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        1    wants money?

        2    A.          Yeah, it could be more than that,

        3    yeah.    Could be some advice.        It could be

        4    anything.     It's consulting.

        5    Q.          Is one of the things an ISO will

        6    do for Recruiting and Marketing Resources

        7    is to bring someone to your business that

        8    wants funding?

        9    A.          Potentially.

       10    Q.          Okay.    What else will an ISO do?

       11    A.          I can't speak for what they do.

       12    Q.          Do you work with ISOs?

       13    A.          Sure.

       14    Q.          So what other things do ISOs do,

       15    specifically with respect to your

       16    consulting work with Recruiting and

       17    Marketing Resources?

       18    A.          They bring us business so we can

       19    find funding for them.

       20    Q.          Okay.    Do all of the people that

       21    are brought to you by ISOs look for some

       22    form of funding, or are there other needs

       23    that business have that you --

       24    A.          There's a lot of different need.


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        1                MR. BERMAN: Objection.         You can

        2    answer.    You can answer.

        3    BY MR. PROPER:

        4    Q.          Other than funding, what other

        5    services does Recruiting and Marketing

        6    Services provide for businesses?

        7    A.          Consulting.

        8    Q.          What type?

        9    A.          General consulting.        Advice on

       10    merchant terminals.       Could be credit.

       11    Could be anything.       Very broad.

       12    Q.          One of the services that

       13    Recruiting and Marketing Services performs

       14    though is locating lenders for your

       15    clients?

       16    A.          Yes.

       17    Q.          So I want to sort of focus on

       18    that for a moment.

       19    A.          Okay.

       20    Q.          Do you have written agreements,

       21    and when I say you, I mean your company.

       22    Do you have written agreements with any

       23    specific lenders?

       24    A.          Yes.


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        1    Q.           When I say your company, I just

        2    want to be clear for the record, do you

        3    have an ownership interest in --

        4    A.           No.

        5    Q.           If you could just allow me to

        6    finish my question just so the court

        7    reporter can take it down and we have a

        8    clean record even though you may anticipate

        9    what I'm going to ask.

       10    A.           Okay.

       11                 MR. BERMAN: And the same for him

       12    because you're no cutting him off at his

       13    answers too, so that goes both ways.

       14                 MR. PROPER:     It does.    I didn't

       15    realize I had done that, but I'll be

       16    cognizant.

       17                 MR. BERMAN:     A few times.

       18                 MR. PROPER:     Thank you for

       19    pointing that out, Brett.         I appreciate

       20    that.

       21                 MR. BERMAN:     No problem.

       22    BY MR. PROPER:

       23    Q.           So with respect to your

       24    relationship, or employment, or consulting


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        1    work with Recruiting and Marketing

        2    Resources, you are an independent paid

        3    consult, correct?

        4    A.          Yes.

        5    Q.          You are not employed by that

        6    company?

        7                  MR. BERMAN: Objection.        You can

        8    answer if you understand the question.

        9                THE WITNESS:      I don't understand

       10    the question.

       11                MR. PROPER:      Okay.

       12    BY MR. PROPER:

       13    Q.          Does Recruiting and Marketing

       14    Resources take out taxes on your behalf

       15    when they pay you?

       16    A.          I don't know.

       17    Q.          You don't know whether or not

       18    they take out taxes, or whether you have to

       19    pay taxes quarterly?

       20    A.          I don't know how they report, I'm

       21    not too familiar with the accounting.

       22    Q.          Well, when you file your

       23    tax return, do you --

       24    A.          My accountants do everything for


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        1    me, I don't know how to do it.

        2    Q.          Do you make estimated payments?

        3                  MR. BERMAN: Objection.        How is

        4    this relevant to class certification?

        5                MR. PROPER: I'm trying to

        6    understand what his relationship is with

        7    Recruiting and Marketing Services, and

        8    whether or not he's a paid employee or a

        9    consultant.

       10                MR. BERMAN: Irrelevant to class

       11    certification, you don't have to answer.

       12                MR. PROPER:      We'll do this all

       13    day because I'm deposing this individual as

       14    a fact witness.      There's overlapping issues

       15    between class certifications and merits.

       16    There's a specific order in the case that

       17    permits us to take merits discovery

       18    relevant to the specific claimants at issue

       19    in this lawsuit, and counsel is directing

       20    his client not to answer that question.              So

       21    I'm not going to argue about it.

       22                You've directed him not to

       23    answer, done.      I'll move on.

       24                MR. BERMAN:      No problem, and for


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        1    clarity of the record, you made a

        2    misrepresentation in what you just stated.

        3    The Court specifically said that no

        4    class-wide merits discovery shall be

        5    conducted until after the May 29, 2020

        6    status conference, so your statement that

        7    merits discovery is to be conducted now is

        8    disingenuous and in violation of a court

        9    order.

       10                MR. PROPER: Can you read footnote

       11    nine of that court order, Brett?

       12                MR. HESKIN:      Read the whole thing

       13    into the record, please.

       14                MR. PROPER:      Read the footnote

       15    where the judge says that it's appropriate

       16    to take merits discovery relative to this

       17    particular -- relative to the Fleetwoods

       18    claim.

       19                MR. BERMAN: I don't know what

       20    footnote nine is.

       21                MR. PROPER: Is there a footnote?

       22                MR. BERMAN:      There is a footnote.

       23                MR. PROPER:      Can you please read

       24    the footnote for the record since you just


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        1    accused me of violating a court order and

        2    making disingenuous statements?

        3                 MR. BERMAN:     You did.

        4                 MR. PROPER:     Okay, go ahead and

        5    read it.

        6                 MR. BERMAN:     While the Court is

        7    not ordering the parties to conduct merit

        8    discovery on plaintiff's individual claims,

        9    the Court strongly encourages the parties

       10    the come to an agreement regarding this

       11    discovery.     Discovery on plaintiffs

       12    individual claims can begin at any time,

       13    and there is no --

       14                 MR. PROPER:     Wait, what did that

       15    just say?

       16                 MR. BERMAN:     I'm not under oath.

       17    You asked me --

       18                 MR. PROPER:     You just accused me

       19    of a violation of a Court order, and what

       20    you just read said that I'm permitted to

       21    take merits discovery immediately.           Did it

       22    say that or did it not say that?

       23                 MR. BERMAN:     Listen, talk to me

       24    like that again, call the Judge, this is


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        1    harassing.     Do not ever raise your voice to

        2    me again.     Happy to get on the phone with

        3    Judge Sanchez right now to clarify it.

        4                 Pick up the phone, take your

        5    voice down.     I'm not here to be lectured or

        6    yelled at.     I'm not being deposed.        I'm a

        7    lawyer.     Call the Judge.

        8                 MR. PROPER: I'm not here to have

        9    you tell me --

       10                 MR. BERMAN:     Take your voice

       11    down.

       12                 MR. PROPER: You're yelling at me,

       13    and don't try to create a misimpression on

       14    the record.     You accused me of violation a

       15    Court order.      You read the court order, and

       16    I have not violated it.        Your objection is

       17    in violation.

       18                 MR. BERMAN:     Call the Judge.

       19                 MR. PROPER:     So why don't you

       20    correct the record.

       21                 MR. BERMAN:     Call the Judge.

       22                 MR. PROPER:     I don't need to call

       23    the Judge yet, but I'll be calling him

       24    shortly.


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        1                 MR. BERMAN:     Call the Judge, and

        2    don't dare raise your voice to me like this

        3    again, or we will call the Judge and talk

        4    about the sanctions against you.

        5                 MR. PROPER:     Do it.

        6                 MR. BERMAN:     This is harassing.

        7                 MR. PROPER:     Do it.

        8                 MR. BERMAN:     You heard my

        9    objection.     The order says what it says.

       10    You're in violation of the Court order if

       11    you think there's merits discovery

       12    occurring today.       Call the Judge.      Call the

       13    Judge.

       14                 MR. PROPER:     Is   it your position

       15    I'm not allowed to ask any questions

       16    regarding the merits of Fleetwood's claim?

       17                 MR. BERMAN:     Ask your questions,

       18    I'll object.      I am not here to answer your

       19    questions.     At any time, if you don't like

       20    my objection, per the Court's directive,

       21    pick up the phone, call the Judge.

       22                 MR. PROPER:     Perfect.

       23                 MR. BERMAN: I'm not under oath

       24    here.    I'm not being deposed here.         Stop


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        1    posing questions to me.

        2                 MR. PROPER:     No, you're being an

        3    obstructionist.

        4                 MR. BERMAN:     You call the Judge

        5    whenever you want.

        6                 MR. PROPER:     I understand that.

        7    I appreciate your guidance on what my

        8    rights are as an attorney.

        9    BY MR. PROPER:

       10    Q.           So, back to Recruiting and

       11    Marketing Resources, does that company have

       12    a written agreement with CBSG, or PAR

       13    Funding?

       14    A.           Yes.

       15    Q.           Okay.     Have you read that

       16    agreement?

       17    A.           Yes.

       18    Q.           Has that agreement been produced

       19    in this lawsuit, to your knowledge?

       20    A.           No.     I wouldn't know.

       21    Q.           You wouldn't know, okay.

       22                 Can you generally tell me what

       23    the terms and conditions are of that

       24    agreement between those two companies as


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        1    you understand it?

        2    A.          No.

        3    Q.          Is there compensation that CBSG

        4    pays to Recruiting and Marketing Services

        5    when business is referred to CBSG?

        6    A.          Yes.

        7                MR. BERMAN:      Objection.      You can

        8    answer.

        9    BY MR. PROPER:

       10    Q.          Can you tell me your

       11    understanding of the nature of that

       12    financial arrangement?

       13    A.          Say that again, I'm sorry.

       14    Q.          Can you tell me your

       15    understanding of the nature of the

       16    financial arrangement between CBSG and

       17    Recruiting and Marketing Services?

       18    A.          I don't understand your question.

       19    Q.          How is CBSG -- strike that.

       20                Under what circumstances does

       21    CBSG pay Recruiting and Marketing Services

       22    money?

       23    A.          If PAR Funding, or any other

       24    lender finances another company in the form


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        1    of cash advance or any other product of

        2    service, it would be entitled to a

        3    commission.

        4    Q.           Okay.     What is the formula for

        5    the commission that CBSG would pay to

        6    Recruiting and Marketing Services if a deal

        7    is funded?

        8    A.           Various.

        9    Q.           Various how?

       10    A.           It could vary on term.        It could

       11    vary on rate.        It could vary on time of the

       12    year.    It could vary on anything.

       13    Q.           So under the agreement, there are

       14    different parameters for how CBSG pays

       15    Recruiting and Marketing Services; is that

       16    fair?

       17    A.           Could be.

       18    Q.           Are you guessing or do you know?

       19    A.           Different products require

       20    different commissions.

       21    Q.           Got it.     So what different

       22    products does CBSG offer?

       23    A.           We went over that already.         It's

       24    on the top of your page right there.


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        1    Funding, consulting and credit.

        2    Q.           That wasn't my question, so I

        3    apologize.

        4    A.           That was the first question.

        5    Q.           That was what services Recruiting

        6    and Marketing Services provides?

        7    A.           Right.

        8    Q.           I'm asking you what type of

        9    financial products does CBSG offer?

       10                 MR. BERMAN: That wasn't your

       11    question, but if that's your question, you

       12    can answer.

       13                 THE WITNESS:     That wasn't the

       14    question, but okay.       PAR Funding provides

       15    many different services from cash advances,

       16    all different factoring products,

       17    consolidation products, lines of credit

       18    products.     They're not technically lines of

       19    credit.     We like to call them in-house as

       20    lines of credit.       They have nothing to do

       21    with other loans, and that's about it.

       22    Q.           Does PAR Funding offer any form

       23    of lending product?

       24    A.           No.


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        1    Q.           Okay.   Have you seen the

        2    different forms for cash advances verus a

        3    line of credit versus a different factoring

        4    product that CBSG uses?

        5    A.           Yes.

        6                 MR. BERMAN: Objection.

        7    BY MR. PROPER:

        8    Q.           Are you particular with those

        9    different forms?

       10    A.           Sure, yeah.

       11    Q.           Do you know what percentage of

       12    the deals that you bring to CBSG, which I'm

       13    going to use interchangeably with PAR

       14    Funding, result in a merchant cash advance

       15    agreement?

       16    A.           Probably about 20 percent.

       17    Q.           And what percentage of the deals

       18    result in some type of factoring

       19    arrangement?

       20    A.           I consider them both

       21    interchangable.

       22    Q.           So what does the other 80 percent

       23    consist of?

       24    A.           People that don't qualify.


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        1    Q.           So I'm going to ask specifically

        2    about deals that result in CBSG giving

        3    money to individuals that you bring to

        4    them.

        5    A.           Please.

        6    Q.           Okay.     What percentage of funding

        7    deals that you're involved with does CBSG

        8    structure as a merchant cash advance?

        9    A.           20 percent.

       10    Q.           And that means 80 percent of the

       11    other deals that are funded are in some

       12    other from of agreement.         What form of

       13    agreements --

       14                 MR. BERMAN: Objection.

       15                 THE WITNESS:     There's no other

       16    form of agreement.        20 percent of our

       17    clients who will qualify for some type of

       18    financing.

       19    BY MR. PROPER:

       20    Q.           Okay.

       21    A.           The other 80 percent don't

       22    qualify.

       23    Q.           So --

       24    A.           Or, let me be more specific.


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        1    Q.          Sure.

        2    A.          You might apply, or maybe you get

        3    funding somewhere else.        But the actual

        4    closurey shows about 20 percent.           To

        5    clarify.

        6    Q.          I appreciate that.        We're just

        7    having a disconnect.        So of the 20 percent

        8    that qualify, if I'm understanding you

        9    correctly, all of those individuals will

       10    sign some form of merchant cash advance

       11    agreement with CBSG?

       12    A.          Right.

       13    Q.          Got it.     Is the form of the

       14    agreement the same for all of the clients

       15    that are approved and actually funded by

       16    CBSG?

       17                MR. BERMAN: Objection.         You can

       18    answer if you understand.

       19                THE WITNESS:      No, because there's

       20    different products, so in our businesses,

       21    people have different needs.          You can't

       22    have a templated product for one specific

       23    client.

       24    BY MR. PROPER:


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        1    Q.          Okay.

        2    A.          So there might have a need for a

        3    different product that doesn't fit the box

        4    of a typical cash advance product, so we'd

        5    have to tailor the documents in order to

        6    facilitate the deal.

        7    Q.          So are the agreements tailored in

        8    every specific case to the needs of a

        9    particular borrower?

       10                MR. BERMAN:      Objection.     You can

       11    answer.

       12                THE WITNESS: You can't -- no.          So

       13    we have different products and different

       14    programs.     You can do different documents

       15    and do it different legal for each client.

       16    BY MR. PROPER:

       17    Q.          So there is a form agreement that

       18    is so sort of a template for all of the

       19    deals with CBSG, right?

       20    A.          Correct.

       21    Q.          And under the form agreement, do

       22    all the form agreements have some form of

       23    the daily payment?

       24    A.          No.


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        1    Q.           Do all the agreements have some

        2    sort of repayment structure?

        3    A.           Of course.

        4    Q.           And what percentage of the

        5    agreements are the borrowers required to

        6    repay the money through daily ACH

        7    withdraws?

        8    A.           I don't have that data.

        9    Q.           Okay.   In your experience, do you

       10    know what percentage of the deals funded by

       11    CBSG require repayment through daily

       12    payments?

       13    A.           I don't have that data.

       14    Q.           What other repayment models have

       15    you seen?     The payments will be repaid

       16    under what time period?

       17                 MR. BERMAN: Objection.        Just for

       18    clarity of the record, are you talking

       19    about Texas deals?

       20                 MR. PROPER: I'm talking

       21    generally, and we're going to get into

       22    Texas.

       23                  MR. BERMAN: Why?      We're in a

       24    class action certification discovery about


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        1    Texas deals.

        2                 MR. HESKIN:     He can answer.

        3                 MR. BERMAN: Again, I want to be

        4    clear for the record what you're doing with

        5    a class cert motion, so now you're talking

        6    about all products, not just Texas.

        7                 MR. PROPER:     You can state your

        8    objection.     If you don't want your client

        9    to answer the question, tell him don't

       10    answer.

       11                 MR. BERMAN:     You can answer as to

       12    Texas.

       13                 MR. PROPER:     That wasn't my

       14    question.

       15                 THE WITNESS:     Can you restate

       16    your question, please?

       17    BY MR. PROPER:

       18    Q.           I want to know, in your

       19    experience, what types of repayment terms

       20    have you seen in deals involving CBSG,

       21    other than daily payments?

       22                 MR. BERMAN:     Objection.     You can

       23    answer.

       24                 THE WITNESS:     Okay, so some


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        1    clients prefer a daily payment.          You might

        2    be looking at a transaction as a daily

        3    payment being too aggressive.          You have

        4    clients that request daily payments.            They

        5    don't like the big payment coming out at

        6    the end of the month, similar to a bank.

        7                You might have a client that

        8    would like the payments taken out two times

        9    a week, which we have that product.           You

       10    might have a client that likes a weekly

       11    payment because he has a receivable coming

       12    in and maybe he's used to -- maybe Fridays

       13    are great for him because -- there's a

       14    reason why.     So each of these deals, and my

       15    job is to tailor the deals to make sure the

       16    clients can pay.       And also to make sure the

       17    clients -- so looking out for both.

       18                Make sure the clients have good

       19    deals.    So the payment is very important,

       20    and I know where you're going with it, and

       21    I agree with you.       The daily payment is

       22    specifically -- it has to be a micro

       23    payment, and we designed that so people can

       24    not feel the payment as much; it doesn't


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        1    always work.       So it depends on how many

        2    deposits you have per month, or it depends

        3    on how many -- your frequency of your

        4    receivables, there's a lot of variables,

        5    and that's my job.

        6                So at Recruiting and Marketing

        7    Resources, my job is to be the bridge

        8    between the lender and the client, and

        9    that's why I'm here today.

       10    Q.          How many deals are you personally

       11    involved with where CBSG funds money to

       12    your clients on a yearly basis?

       13    A.          Every deal.

       14    Q.          I'm sorry?

       15    A.          Every deal.

       16    Q.          What do you mean every deal?

       17    Every one of your deals involves CBSG?

       18    A.          Yes.

       19    Q.          So when you said your company

       20    deals with other lenders, your company may

       21    deal with other lenders, but you

       22    specifically may not?

       23    A.          Right.

       24    Q.          So you're an exclusive sales


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        1    agent for CBSG or no?

        2    A.           No, I'm not a sales agent.         I'm

        3    more of a consultant.        The salesmen are

        4    ISO's, to your point earlier; they send the

        5    deals in.     My job is to make sure that the

        6    deal fits the criteria for the company, and

        7    it's also a prudent deal for the customer.

        8    Q.           Do you do underwriting on behalf

        9    of CBSG?

       10    A.           I don't.

       11    Q.           Does CBSG have their own

       12    underwriting department?

       13    A.           Yes.

       14    Q.           Do you work with someone specific

       15    in the underwriting department or multiple

       16    people?

       17    A.           Multiple.

       18    Q.           Who are some of the individuals

       19    in CBSG's underwriting department that you

       20    work with?

       21    A.           I'm not going to name any names.

       22    Q.           I'm sorry?

       23    A.           I'm not going to name any names

       24    today.


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        1    Q.          You're refusing to answer my

        2    question?

        3    A.          Yeah.

        4    Q.          Okay.     You know the names.       You

        5    just aren't going to tell me them?

        6    A.          That's right.

        7    Q.          Do you have an ownership interest

        8    in CBSG?

        9    A.          I don't.

       10    Q.          Have you ever had an ownership

       11    interest in CBSG?

       12    A.          No.

       13    Q.          Have you ever represented to

       14    anyone in the public that you are an owner

       15    of CBSG?

       16    A.          No.     Not that I know of, no.

       17    Q.          Have you ever represented to an

       18    investor or potential investor that are you

       19    are an owner of CBSG?

       20    A.          No, sales director.

       21    Q.          You've represented --

       22    A.          In the past.

       23    Q.          But not currently?

       24    A.          No.


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        1    Q.          When was the last time you

        2    represented to someone that you are a sales

        3    director for CBSG?

        4    A.          A few hours ago.

        5    Q.          Who did you make that represation

        6    to?

        7    A.          A client.

        8    Q.          But you're not a sales director

        9    for CBSG?

       10    A.          Yeah, I am a sales director for

       11    CBSG.    I don't work there, but I am a sale

       12    director.     So I handle all the sales for

       13    CBSG, which makes me a sales director.            I

       14    don't specifically work for the company.

       15    I'm in a consulting capacity.

       16    Q.          Do you have a business card that

       17    says you're a sales director for CBSG?

       18    A.          I don't have business cards.

       19    Q.          So you don't think it's

       20    misleading to tell people you're a sales

       21    director for CBSG when you're not really

       22    employed by the company?

       23                MR. BERMAN:      Objection.     You can

       24    answer if you understand the question.


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        1                THE WITNESS:      No, I don't think

        2    that's inappropriate.        I think it's

        3    helpful.    I think it's helpful to the

        4    clients to know that we have a direct

        5    relationship.      It gives them a comfort

        6    level, and I think it's a good thing.            I

        7    think it's a good thing that I work at

        8    Recruiting and Marketing Resources because

        9    it allows me the ability to customize

       10    transactions, not only for CBSG PAR

       11    Funding, but maybe there's a deal that

       12    doesn't qualify for PAR Funding.           Should

       13    the person only be a one trick pony?            They

       14    should be able to go somewhere else.            If I

       15    can help them, if I can lead them to go

       16    somewhere else?      It's a good thing, I think

       17    for the merchants.

       18    Q.          Do you tell all the people that

       19    you work with that you're a sales director

       20    for CBSG?

       21                MR. BERMAN: Objection.         If you

       22    can answer the question.

       23                THE WITNESS:      I don't know.

       24    BY MR. PROPER:


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        1    Q.          I mean as part of --

        2    A.          I don't walk around telling

        3    people -- it's kind of a...

        4    Q.          So as part of your regular

        5    business, a small business is brought to

        6    Recruiting and Market Services looking for

        7    money, and as part of that conversation

        8    with the business, do you typically tell

        9    that business owner that you're a sales

       10    director for CBSG?

       11                MR. BERMAN: Multiple objections.

       12    If you can answer the compound

       13    hypothetical.

       14                THE WITNESS:      Yeah, I'll tell

       15    somebody I'm a sales director at CBSG, you

       16    know.    We have an agreement with CBSG, PAR

       17    Funding.    I think it's appropriate, yeah.

       18    BY MR. PROPER:

       19    Q.          Were you a founder of CBSG?

       20    A.          I guess you can say yes.         I help

       21    build some of the models, yes.          I wouldn't

       22    call myself a founder, but I help build a

       23    lot of the models, yes.

       24    Q.          Did you invest any of your own


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        1    capital to start CBSG?

        2    A.          No.

        3    Q.          Have you ever represented to any

        4    third party that you used our own money to

        5    start CBSG?

        6                MR. BERMAN:      Objection.     If you

        7    can answer.

        8                THE WITNESS: I can't answer.

        9    BY MR. PROPER:

       10    Q.          You can't answer because you

       11    don't know or you --

       12    A.          I've been in the business eight

       13    years.    I'm not going to say that I said or

       14    didn't say something over the past eight

       15    years.    I don't want to lie to the Court.

       16    Q.          When you say you developed some

       17    of the models for CBSG, can you tell me

       18    generally what you developed?

       19    A.          Sure.    The exact model you have

       20    in front of you for your client, Fleetwood,

       21    I developed that model.        It's a

       22    consolidation program which was a very

       23    helpful product.       I developed that product.

       24    Some of the bi-weekly products.


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        1                In my capacity as a consultant, I

        2    learned pretty quickly that having one

        3    product isn't a good thing, especially for

        4    the merchants in small business in America,

        5    so it's very order to tailor the

        6    transactions in order to help them get

        7    through the advances.

        8    Q.          Just walk back, and I apologize.

        9    When was CBSG founded, in what year?

       10                MR. BERMAN: You can answer if you

       11    know.

       12                THE WITNESS:      I'm going to guess,

       13    2012.

       14    BY MR. PROPER:

       15    Q.          Who were the individuals that

       16    started CBSG?

       17    A.          I don't know how to answer that

       18    question.

       19    Q.          Do you know who the owners of

       20    CBSG were back in 2012?

       21    A.          No.

       22    Q.          Do you know who the stock holders

       23    were back in 2012?

       24    A.          No.


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        1    Q.          Do you know who any of the

        2    principals were of that company?

        3    A.          No.

        4    Q.          Do you know who any of the

        5    directors were of the company?

        6    A.          No.

        7    Q.          Who was the person at CBSG that

        8    contacted you for consulting assistance

        9    back in 2012?

       10    A.          I don't remember.       It was too

       11    long ago.

       12    Q.          And I apologize if I'm

       13    mispronoucing the last name, but do you

       14    know a Lisa McElhone?

       15    A.          Yeah, I'm married to her.

       16    Q.          Thought so.      Am I producing the

       17    name correctly?

       18    A.          Close enough.

       19    Q.          How long have you been married to

       20    Ms. McElhone?

       21    A.          14 years.

       22    Q.          What's your current address?

       23    A.          1932 Spruce Street.

       24    Q.          In Philadelphia?


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        1    A.          Uh-huh.

        2    Q.          Was McElhone one the founders of

        3    CBSG?

        4    A.          I'm not going to answer questions

        5    on behalf of anybody expect for my own

        6    self, that's why I'm here today.

        7    Q.          Do you know whether she was and

        8    you're refusing to answer, or you don't

        9    know?

       10                MR. BERMAN: It's what you know or

       11    don't know.

       12                THE WITNESS:      All right, so the

       13    original founders of the company, there was

       14    a lot of different products and services

       15    out there for small businesses.          I started

       16    the business as an independent operator, so

       17    I don't want to mislead the Court.           I

       18    wasn't a founder in the since because of

       19    the fact I was an ISO, an independent sales

       20    operator, when I first got into the

       21    industry before CBSG was founded.

       22    BY MR. PROPER:

       23    Q.          Hold on, now I'm confused, and it

       24    won't be the last time.


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        1                When you say you started the

        2    business --

        3    A.          In the industry, not in PAR

        4    Funding.

        5    Q.          So when you started in the

        6    business, not started CBSG?

        7    A.          Correct.

        8    Q.          Got it, continue?

        9    A.          So I started as an independent

       10    sales operator.      So, when I say I don't

       11    know, I don't remember exactly specifically

       12    how it was specifically founded, I don't

       13    know what that word really means.           I'm

       14    pretty good on the telephones.          I started

       15    as an independent sales operator for

       16    another company working for somebody else,

       17    and that's how I got in the industry.

       18    Q.          With respect to your wife, do you

       19    know whether or not she was involved in the

       20    formation of CBSG?

       21    A.          Yes.

       22    Q.          Okay.    What was her involvement?

       23                MR. BERMAN: If you can answer.

       24                THE WITNESS:      I don't understand.


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        1    What you mean by formation?         How do you

        2    formulate a company?        What does that mean?

        3    BY MR. PROPER:

        4    Q.           Well, there's papers that are

        5    filed in order for --

        6    A.           I don't know; her lawyers would

        7    know that.     I don't know.

        8    Q.           So your wife was involved with

        9    dealing with the lawyers and setting up the

       10    company and so on and so forth, right?

       11                 MR. BERMAN: Objection.        You can

       12    answer.

       13                 THE WITNESS:     I don't know.      I

       14    was a sales operator.        I don't know what

       15    she did.     She ran her own business.

       16    BY MR. PROPER:

       17    Q.           Do you know if your wife invested

       18    any of her own money in the start or

       19    formation of CBSG?

       20    A.           I have no idea.

       21    Q.           Okay.   Is your wife currently an

       22    employee of CBSG?

       23    A.           Yes.

       24    Q.           Has she always been an employee


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        1    of CBSG since it was founded?

        2    A.          Yes.

        3    Q.          Does she have a title at CBSG?

        4    A.          I don't know what her title is

        5    at CBSG.    We're not really big on titles

        6    like you guys are here, so I don't really

        7    think she has a title.

        8    Q.          Do you know if she's an officer

        9    or director of CBSG?

       10    A.          I don't know.

       11    Q.          Has she ever represented herself

       12    to the public as the president of CBSG?

       13    A.          I don't know what she does in

       14    public.

       15    Q.          Do you know who else was

       16    assisting your wife back in 2012 in

       17    starting CBSG?

       18    A.          No.

       19    Q.          Were there other people involved?

       20    A.          I don't know any of these

       21    questions. How my wife operated her

       22    business or formulated her business.

       23    Q.          What experience, if any, did your

       24    wife have in financial services prior to


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        1    2012?

        2    A.           My wife was a mortgage broker.

        3    Q.           Who did she work for prior to

        4    2012?

        5    A.           I don't know the name of the

        6    company.     She's a licensed mortgage broker.

        7    She's a Saint Joe's graduate.          She's

        8    brilliant.     If you guys are to insinuate at

        9    all that she was incapable of starting this

       10    business, she's a lot smarter than me.            So

       11    if I were you guys, I wouldn't get her in

       12    here.    Just for clarity, because we're

       13    going through a lot of this for Judge --

       14                 MR. HESKIN: Joe, to the extent

       15    you can answer for her, we don't need to

       16    depose her.

       17                 THE WITNESS:     I'm trying to, but

       18    it's hard to answer for somebody else.

       19    She's a brilliant person.         Woman-owned

       20    business.     She's very smart.       I run the

       21    sales side of the business, that's what I'm

       22    good at.     I'm not very good at the legal.

       23    I'm not very good at the accounting; I'm

       24    not good at that stuff.        I'm very good at


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        1    looking at transactions.         I'm good at

        2    talking to people on the phones, and that's

        3    my role, hence why I own my shop,

        4    Recruiting and Marketing Resources.

        5    BY MR. PROPER:

        6    Q.           Are you an owner of Recruiting

        7    and Marketing Resources?

        8    A.           No.

        9    Q.           When you say you have your own

       10    shop, what does that mean?

       11    A.           I run the shop.      I'm the

       12    director, so I'm in the office everyday,

       13    you know, running the shop.

       14    Q.           Who owns Recruiting and Marketing

       15    Services?

       16    A.           I'm not sure how it's formatted

       17    right now.

       18    Q.           You've worked for Recruiting and

       19    Marketing Services as the director for

       20    seven years, right?

       21    A.           Yes.

       22    Q.           You don't know any of the owners?

       23    A.           No.

       24    Q.           But you've never been one of the


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        1    owners?

        2    A.          No.

        3    Q.          And you've never had a financial

        4    stake in the business, right?

        5    A.          No.

        6    Q.          Do you know how that business is

        7    formed?    Is it a partner or corporation?

        8    A.          Let me clarify.       The reason why I

        9    don't know these answers, this company was

       10    formatted in 2008.       I don't know who the

       11    actual owner is of the company.

       12    Q.          Do you report to someone?

       13    A.          No.

       14    Q.          Are you involved in preparing

       15    financial statements for the company?

       16    A.          No.

       17    Q.          Do you run the office?

       18    A.          Yes.

       19    Q.          How many employees are there?

       20    A.          About 25.

       21    Q.          And you have no idea whose above

       22    you at the company, right?

       23                MR. BERMAN: Objection.         You can

       24    answer if you understand.


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        1                THE WITNESS:      No, I don't.      I

        2    don't have anybody above me.          I just don't

        3    want to answer you incorrectly about the

        4    formation of the company and who the owners

        5    of the company are, because as I explained

        6    to you, it was formatted so long ago.               I

        7    don't know.

        8    BY MR. PROPER:

        9    Q.          Okay.    Are there any other

       10    directors of the company?

       11    A.          I don't know.

       12    Q.          Is there anyone that is at the

       13    same level that you are within the company?

       14    A.          No.

       15    Q.          Are you, to your knowledge, the

       16    person that runs the day-to-day activities

       17    of Recruiting and Marketing Services?

       18    A.          Yes.

       19    Q.          Does your wife have any

       20    involvement in that business?

       21    A.          No.

       22    Q.          Now, when you said you run the

       23    sales side of CBSG, what did you mean that

       24    by that?


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        1    A.          CBSG doesn't have any sales

        2    people.    CBSG is only a funder.

        3    Q.          Are you using CBSG and PAR

        4    Funding separately?

        5    A.          No.    CBSG is PAR Funding.       CBSG

        6    is d/b/a PAR Funding.

        7    Q.          I just wanted to make sure we

        8    were on the same page because I'm using

        9    them interchangably.

       10    Q.          No, you're right?

       11    A.          You're right.      CBSG is d/b/a PAR

       12    Funding.

       13    Q.          So when you say that CBSG has no

       14    sales force, if I'm understanding you

       15    correctly, all of their sales are

       16    outsourced to your -- I don't want to say

       17    your company because you don't own it, but

       18    are outsourced through third parties or no?

       19                MR. BERMAN:      Objection.     You can

       20    answer if you understand.

       21                THE WITNESS:      Yes, so CBSG

       22    doesn't have any sales.        It's a fintech

       23    company. All it does is give out advances,

       24    different types of products.          My job is to


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        1    be intermediary between the independent

        2    sales operators, which there's 400 of them,

        3    which is a lot of work.

        4    BY MR. PROPER:

        5    Q.          Sure.

        6    A.          And I'm pretty good on the

        7    phones, as I explained.        They gave me a job

        8    in Recruiting and Marketing Resources to

        9    put together deals and make sure that

       10    clients are satisfied with the product

       11    before it goes into PAR Funding or any

       12    other lenders portal.

       13    Q.          That's help.      Was Recruiting and

       14    Marketing Services formed at the same time

       15    CBSG was formed?

       16    A.          No.     As I said, it was formed a

       17    long time ago, that's why I don't have the

       18    answers for you.

       19    Q.          Okay, but Recruiting and

       20    Marketing Resources has been around for

       21    about seven years, which puts us around

       22    2012, which is when CBSG was form?

       23    A.          No, that's incorrect.

       24    Q.          So when was Recruiting and


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        1    Marketing Services formed?

        2    A.          I just said I don't remember.

        3    Q.          A long time ago?

        4    A.          Yeah, a long time ago.

        5    Q.          You started working for

        6    Recruiting and Marketing Services in 2012,

        7    correct?

        8    A.          About.

        9    Q.          Was your consulting arrangement

       10    with Recruiting and Marketing Services done

       11    because of the formation of CBSG?

       12    A.          No, not at all.       As a matter of

       13    fact, I closed many transactions with other

       14    lenders through Recruiting and Marketing

       15    Resources before CBSG was even formed, so

       16    my capacity at Recruiting and Marketing

       17    Resources has been before CBSG was formed.

       18    Q.          So prior to CBSG, you worked for

       19    Recruiting and Marketing Services in a

       20    consulting capacity?

       21    A.          Yes.

       22    Q.          And at that time, if businesses

       23    came to you looking for a need, you would

       24    refer them to a variety of different


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        1    lenders, right?

        2    A.           Sure.

        3    Q.           Who were some of the lenders you

        4    worked with before CBSG?

        5    A.           On Deck, Papal, Rapid.

        6    Q.           Yellowstone?

        7    A.           No, I never worked with

        8    Yellowstone.

        9    Q.           How about Richmond Capital?

       10    A.           No.

       11    Q.           Is it Recruiting and Marketing

       12    Services?

       13    A.           Recruiting and Marketing

       14    Resources.

       15    Q.           Recruiting and Marketing

       16    Resources, I'm sorry.

       17                 How did it come about that you

       18    began to be only refer businesses that you

       19    dealt with to CBSG.

       20                 MR. BERMAN: Objection.

       21    Mischaracterization.        You can answer.

       22                 MR. PROPER:     Let me take a step

       23    back -- it's a pet peeve of mine when I'm

       24    accused of mischaracterizing, because if I


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        1    am, I am, but I try not to.

        2    BY MR. PROPER:

        3    Q.          Did you testify previously that

        4    all of the deals that you have are with

        5    CBSG?

        6    A.          No.    I said that all the deals

        7    that CBSG does comes through me.

        8    Q.          Got it.

        9    A.          But on top to have that, I also

       10    source for other companies.

       11    Q.          So what percentage of your deals

       12    are with CBSG versus other lenders?

       13    A.          I would have to look.        I would

       14    have to say 60/40.

       15    Q.          60 CBSG 40 others?

       16    A.          Yes.

       17    Q.          Thank you, I did mischaracterize.

       18    But all of the deals that CBSG funds come

       19    from you?

       20    A.          Yeah, so it's very -- I think

       21    it's very important that that occurs.            We

       22    want to make sure that -- there's an a lot

       23    of unscrupulous brokers out there right

       24    now, so I work in a capacity of a mediator


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        1    between the broker and the lender.

        2    Q.          Uh-huh.

        3    A.          The broker and the client, which

        4    I think there's a lot of misrepresentation

        5    in the industry, so that's my job.

        6    Q.          What is -- strike that.

        7                Are you familiar with a company

        8    by the name of Fast Advance?

        9    A.          Yes.

       10    Q.          What does Fast Advance do?

       11    A.          It's an independent sales

       12    operator.

       13    Q.          Okay.     How about Broadway

       14    Advance?

       15    A.          They're an independent sales

       16    operator.     I think they're also a funder.

       17    Q.          And are those two companies two

       18    of the ISO's that will bring deals to you

       19    that may result in CBSG Funding money to

       20    businesses?

       21    A.          Sure, could.

       22    Q.          And does CBSG pay Fast Advance as

       23    well as Recruiting and Marketing Resources

       24    when a deal is funded?


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        1    A.          Yes.

        2    Q.          Does CBSG have written contracts

        3    with different independent sales

        4    organizations?

        5    A.          I believe so.

        6    Q.          Okay, and as the person that runs

        7    the sales side of CBSG, are you familiar

        8    with CBSG's annual funding?

        9    A.          No.

       10    Q.          Do you know how much money CBSG

       11    has funded this year, for instance?

       12    A.          No.

       13    Q.          Do you know how many accounts

       14    receivable CBSG has outstanding currently,

       15    ballpark?

       16    A.          No.

       17    Q.          Do you have access to any

       18    internal financial documents for CBSG?

       19    A.          What's that mean?

       20    Q.          Are you able to review, for

       21    instance, CBSG's profit and loss statements

       22    to the extent they have them?

       23    A.          No.    My wife reviews them.        I

       24    don't know.


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        1    Q.           Have you ever reviewed a profit

        2    and loss statement for CBSG?

        3    A.           I don't think so.

        4    Q.           Do you know if CBSG has a general

        5    ledger?

        6    A.           What's that?

        7    Q.           If you don't know, that's fine.

        8    A.           What is a general ledger?

        9    Q.           It's an accounting tool that many

       10    businesses use.

       11    A.           I don't know. They have

       12    professional accountants up there.           They

       13    have CPA's.     They have controllers.        It's

       14    in a separate facility; I don't have any

       15    access to that.

       16    Q.           Who are CBSG's accountants, do

       17    you know?

       18                 MR. BERMAN: If you know.

       19                 THE WITNESS:     I don't know the

       20    last names.     I just know them by first name

       21    when they pay us if there's a discrepency

       22    in a file.

       23    BY MR. PROPER:

       24    Q.           Do you work in the same office as


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        1    CBSG employees?

        2    A.          No.

        3    Q.          Where is your business,

        4    Recruiting and Marketing Resources,

        5    located?

        6    A.          It's a separate facility in Old

        7    City.

        8    Q.          So what is the business address

        9    for Recruiting and Marketing Resources?

       10    A.          22 North 3rd.

       11    Q.          What is the business address for

       12    CBSG?

       13    A.          CBSG is located in Florida.

       14    Q.          Does CBSG have an office in

       15    Philadelphia?

       16    A.          No.

       17    Q.          Have you ever represented to any

       18    investor or potential investor that CBSG

       19    has an office at 22 North 3rd Street in

       20    Philadelphia?

       21                MR. BERMAN: Objection.         You can

       22    answer.

       23                THE WITNESS:      CBSG doesn't have

       24    an office at 22 North 3rd Street.


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        1    BY MR. PROPER:

        2    Q.          I'm asking you whether you

        3    personally have ever represented --

        4    A.          I don't remember representing

        5    that.

        6    Q.          Again, I hear your answer, I just

        7    need to finish my question.

        8    A.          Okay.

        9    Q.          Have you, to your knowledge, ever

       10    represented to any third party that CBSG

       11    has an office at 22 North 3rd Street in

       12    Philadelphia?

       13    A.          I don't remember.       Don't know.

       14    Q.          Have you ever met with CBSG

       15    investors at 22 North 3rd Street?

       16    A.          Yes.

       17    Q.          How often do you meet with

       18    investors for CBSG?

       19    A.          I don't really meet with

       20    investors except to talk about different

       21    products and services that they're rolling

       22    out.

       23    Q.          Do you do any -- do you do any

       24    type of presentations or promotions to try


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        1    to bring investors into CBSG?

        2    A.          No, they have a separate division

        3    that does that.

        4    Q.          Okay.

        5    A.          Once in a while they're talk

        6    about different products that CBSG is

        7    rolling out, and I'll do that for them.

        8    Q.          Talk about different products

        9    where, like in what format?

       10    A.          Different products, a bi-weekly

       11    program, different types of programs so I

       12    can explain different programs to people.

       13    Q.          Are these just people that may

       14    stop by the office, or is this a more

       15    formal event?       I'm trying to understand

       16    like what the circumstances might be?

       17    A.          Stop by the office, could be

       18    anything.

       19    Q.          Yeah.     I don't know what the

       20    could be anything is, so I'm just wondering

       21    if you can give me some examples of the

       22    type of interactions you --

       23    A.          The same way I'm interacting with

       24    you right now.


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        1    Q.          Have you ever given a formal

        2    presentation to potential investors?

        3                MR. BERMAN: Objection.         I'm going

        4    instruct him not to answer.

        5                MR. PROPER: Okay.

        6    BY MR. PROPER:

        7    Q.          Have you ever represented to an

        8    investor or potential investor that CBSG is

        9    a lender?

       10                MR. BERMAN:      Objection.     I'm

       11    going to instruct him not to answer.

       12                MR. HESKIN: What's the basis of

       13    that?

       14                MR. BERMAN: The same basis in our

       15    objection to the class based

       16    interrogatories.       This is a merits based

       17    discovery, and this would be something you

       18    should raise with the Court if you're

       19    seeing investor based discovery.

       20                MR. HESKIN: You mean the ones

       21    that are --

       22                MR. BERMAN:      I said call the

       23    Court.

       24                MR. HESKIN:      Got it.


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        1                MR. BERMAN:      That's something

        2    we've objected to. You have not done

        3    anything about our objection.          We're going

        4    to stand by those objections.

        5                THE WITNESS:      I would like to put

        6    something on the record.

        7                MR. HESKIN:      Sure.

        8                THE WITNESS:      PAR Funding is a

        9    Florida Company.       You're thinking of, and

       10    when you're misleading to is, 20 North 3rd

       11    Street is a processing office.          It's called

       12    Full Spectrum.      You guys have the wrong

       13    address.    It's a Florida office.

       14                There's a processing entity that

       15    processes all the files.         We're an fintech

       16    company.    CBSG is only a lender.         In it's

       17    capacity, only lends capital.          We have from

       18    Recruiting and Marketing Resources that

       19    sources deal, and Full Spectrum is the

       20    actual processing and underwriting arm that

       21    handles all of the business for PAR

       22    Funding.

       23    BY MR. PROPER:

       24    Q.          So the business that's located at


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        1    20 North 3rd Street is called what?

        2    A.          Full Spectrum.

        3    Q.          Have you been to Full Spectrum's

        4    office?

        5    A.          Of course.

        6    Q.          And Full Spectrum's office on 20

        7    North 3rd where your marketing company is

        8    on 22 North 3rd?

        9    A.          Right.

       10    Q.          Got it.     How many employees work

       11    at Full Spectrum?

       12    A.          I don't know.

       13    Q.          Ball park?

       14    A.          Ball park?

       15    Q.          Yeah.

       16    A.          50.

       17    Q.          And are the individuals that work

       18    at 20 North 3rd Steet employees of CBSG or

       19    no?

       20    A.          No.

       21    Q.          Do you know if CBSG or PAR

       22    Funding represents to the public that they

       23    have an office at 141 North 2nd Street in

       24    Philadelphia?


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        1    A.          Yeah, they did in 2017, Shane.

        2    Q.          When did that office close?

        3    A.          2018.

        4    Q.          How long did CBSG have a presence

        5    at that location?

        6    A.          16, 18 years.

        7    Q.          Why was -- this is if you know,

        8    why was CBSG incorporated in Floria?

        9    A.          I don't know.

       10    Q.          How often is your wife in

       11    Florida?

       12    A.          A lot.     Too much.

       13    Q.          What's the Florida address?

       14    A.          I don't have that.

       15    Q.          Have you ever been to the Florida

       16    office?

       17    A.          Sure.

       18    Q.          How often do you go down to the

       19    Florida office?

       20    A.          Not that much.

       21    Q.          What's -- just so I know what

       22    that not that much means to you?

       23    A.          Well, when she goes there, she

       24    sends me for coffee.        I go get coffee, I


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        1    come back.     She has a lot of work to do

        2    down there.        I don't really go that much.

        3    Q.           When you're down at the Florida

        4    office, do you do work down there?

        5    A.           No.

        6    Q.           So you don't --

        7    A.           I work off my phone.

        8    Q.           So when you're down in Florida

        9    with your wife, you don't go to CBSG's

       10    office and work at --

       11    A.           No.

       12    Q.           -- like an office or a cubical

       13    down there?

       14    A.           Never.

       15    Q.           Who is CBSG's CFO?

       16    A.           I'm not sure who it is.        I am not

       17    sure who is in that capacity right now.

       18    Q.           Who is the last CFO that you do

       19    know worked in that capacity for CBSG?

       20    A.           I couldn't say who the last one

       21    was.

       22    Q.           Do you know who Jo Cole is?

       23    A.           Yeah, sure.

       24    Q.           Is Jo Cole the current CFO?


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        1    A.          I wouldn't know.

        2    Q.          What is your understanding as to

        3    what Mr. Cole does for CBSG?

        4    A.          I wouldn't know.       I work for

        5    Recruiting and Marketing Resources.           They

        6    keep me in another business.          Their

        7    operations have nothing to do with me.

        8    Q.          Do you know a Bill Bromley?

        9    A.          Yes.

       10    Q.          Does Mr. Bromley work for CBSG?

       11    A.          No.

       12    Q.          Does Mr. Bromley do any type of

       13    consulting work for CBSG?

       14    A.          I wouldn't know.

       15    Q.          Do you know a company by the name

       16    of Pro Source 2000?

       17    A.          No.    Pro Source 200 I never heard

       18    of.

       19    Q.          I may have the wrong name.          Do

       20    you know the name of Mr. Bromely's

       21    business?

       22    A.          No.

       23    Q.          So just to be clear, it's your

       24    testimony, to the best of your knowledge,


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        1    that let's say as of October 24, 2019, CBSG

        2    did not have an office at 20 North 3rd

        3    Street in Philadelphia?

        4    A.           Say that again, I'm sorry.

        5    Q.           Let me ask it differently.         To

        6    your understanding, in what year did CBSG

        7    close its 20 North 3rd Street office?

        8                 MR. BERMAN: Objection.

        9    Mischaracterization.

       10    BY MR. PROPER:

       11    Q.           Did they close that office or no?

       12                 MR. BERMAN:     Mischaracterization.

       13    BY MR. PROPER:

       14    Q.           Did CBSG --

       15    A.           What address?     I'm confused.

       16    Q.           I confuse people a lot, so this

       17    is normal for me.       So I'll try to work

       18    through it.     At some point in time, did

       19    CBSG have an office at 20 North 3rd Street?

       20    A.           I wouldn't know that. I'm at 22

       21    North 3rd.     Remember I told you that?

       22    Q.           Yeah, yeah, yeah.

       23    A.           I work for Recruiting and

       24    Marketing Resources.        I don't know the


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        1    answer to that.

        2    Q.           A some point in time did CBSG

        3    ever have an office --

        4    A.           I'm trying to establish the fact

        5    that my wife has more to do with CBSG than

        6    me, and I don't know the answers to those

        7    questions.

        8    Q.           Okay, so if I misheard you, I

        9    apologize.     I thought you testified that at

       10    some point CBSG, and I think I asked a

       11    question, you know, isn't it true that CBSG

       12    had an office 20 North 3rd Street, and you

       13    said, "yes, in 2017 they did, Shane."

       14    A.           No, I did not.

       15    Q.           You didn't say that?

       16    A.           No.    I said 141 North 3rd Street.

       17    Q.           141, I'm sorry.

       18    A.           So you guys have the wrong

       19    address.     141 North 2nd, CBSG did have an

       20    office.

       21    Q.           Does CBSG, to your knowledge,

       22    currently have any office in Philadelphia,

       23    at any location?

       24    A.           I don't know.


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        1    Q.          When is the last time you've been

        2    to an office in Philadelphia that you

        3    believe to have been rented or owned by

        4    CBSG?

        5                MR. BERMAN: Objection.         You can

        6    answer.

        7                THE WITNESS:      I don't know.

        8    BY MR. PROPER:

        9    Q.          Would the last time have been the

       10    141 North 2nd Street office, or you don't

       11    know?

       12    A.          I don't know, and I don't want to

       13    answer the question incorrectly on the

       14    record.

       15    Q.          Have you ever been to an office

       16    located at 20 North 3rd Street?

       17    A.          Yes.    We just established that's

       18    Full Spectrum.

       19    Q.          Oh, that's Full Spectrum.         Do you

       20    know whether or not CBSG represents to the

       21    public that the 20 North 3rd Street address

       22    is actually their business office?

       23    A.          I wouldn't know that.

       24    Q.          Okay, and you've never been an


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        1    officer, director, or owner of CBSG,

        2    correct?

        3                 MR. BERMAN: Objection.        Compound.

        4    BY MR. PROPER:

        5    Q.           I'll break it up.

        6                 Have you ever been an officer of

        7    CBSG?

        8    A.           No.

        9    Q.           Ever been a director of CBSG?

       10    A.           No.

       11    Q.           Ever been an employee of CBSG?

       12    A.           No.

       13    Q.           Ever been an owner of CBSG?

       14    A.           No.

       15    Q.           Have you ever received any form

       16    of profits that were generated by CBSG?

       17    A.           No.

       18    Q.           Have you ever hired or fired any

       19    employees of CBSG?

       20    A.           No.

       21    Q.           Does CBSG do underwriting for any

       22    companies other than itself, to your

       23    knowledge?

       24                 MR. BERMAN: Objection.        You can


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        1    answer if you understand.

        2                THE WITNESS:      CBSG doesn't

        3    underwrite files.

        4    BY MR. PROPER:

        5    Q.          CBSG does not underwrite?

        6    A.          No.

        7    Q.          Who does the underwriting for

        8    CBSG?

        9    A.          Full Spectrum.

       10    Q.          And I ask questions before about

       11    the underwriters at CBSG, which you

       12    declined to answer, so I just want to

       13    clarify this to see if your response is the

       14    same.

       15                Are you willing to share with me

       16    who the underwriters are at Full Spectrum

       17    that underwrite deals for CBSG?

       18    A.          No.

       19    Q.          Are you familiar with how Full

       20    Spectrum underwrites potential deals that

       21    you bring to CBSG?

       22    A.          I'm familiar with every lender on

       23    the street how they underwrite deals.

       24    Q.          Can you walk me through your


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        1    understanding of Full Spectrum's

        2    underwriting process for deals and

        3    potential deals that you bring to CBSG?

        4                 MR. BERMAN: Objection.        For

        5    Texas?

        6                 MR. PROPER:     Sure.

        7                 MR. BERMAN:     If you know.

        8                 THE WITNESS:     Do you want to go

        9    over the entire underwriting guidelines?

       10                 MR. PROPER:     Yeah.

       11                 THE WITNESS:     Ask me some

       12    questions.

       13    BY MR. PROPER:

       14    Q.           Are there written underwriting

       15    guidelines?

       16    A.           I wouldn't know that if they

       17    write them down.

       18    Q.           Have you ever reviewed written

       19    underwriting guidelines that were prepared

       20    by Full Spectrum?

       21    A.           No.

       22    Q.           Do you exchange emails with

       23    anyone at Full Spectrum about how they

       24    underwrite deals for CBSG?


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        1                MR. BERMAN:      Objection.     You can

        2    answer if you understand the question.

        3                THE WITNESS:      I don't understand

        4    the question.

        5    BY MR. PROPER:

        6    Q.          Do you know what an email is?

        7    And I don't mean to be...

        8    A.          Yeah, I do.

        9    Q.          Do you use email in your daily

       10    business activities?

       11    A.          Yes, I do.

       12    Q.          Do you ever email with

       13    individuals at Full Spectrum?

       14    A.          You didn't ask me that.

       15    Q.          I'm not saying I did.

       16                MR. BERMAN: He's noting my

       17    objeciton, which is now why he's going

       18    through it slowly.

       19                THE WITNESS:      Yes, I know what

       20    emails are.

       21                MR. PROPER:      I totally expected

       22    that you know.

       23    BY MR. PROPER:

       24    Q.          Have you ever emailed with anyone


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        1    at Full Spectrum?

        2    A.           Sure.

        3    Q.           Have you ever emailed with anyone

        4    at CBSG?

        5    A.           I don't know.     Well, my wife,

        6    she's at CBSG, so yeah.

        7    Q.           Do you email with anyone else

        8    other than your wife at CBSG?

        9    A.           I don't know.

       10    Q.           Do you email with Jo Cole at all?

       11    A.           Sometimes.

       12    Q.           Ever email with Bill Bromley?

       13    A.           I email with Shane.       I can email

       14    anybody.

       15    Q.           I'm just asking.

       16    A.           Are you asking me about thousands

       17    of emails?     I don't want to answer the

       18    question incorrectly.

       19    Q.           Do you save your emails?

       20    A.           No.

       21    Q.           What's your policy in terms of

       22    deleting emails?

       23    A.           I don't have a personal policy.

       24    Q.           I just wonder, do you clean out


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        1    your emails?

        2    A.          I don't save them.        I don't know

        3    how to save them.

        4    Q.          Yeah, yeah, yeah.       Are you a guy

        5    that's got like 10,000 in his box, or are

        6    you going periodically and cleaning it up?

        7    A.          What do you mean kind of guy?

        8    Q.          I'm a guy, and I don't delete my

        9    emails.    So I'm wondering if you're a guy

       10    that deletes his emails.

       11    A.          I don't know if I would classify

       12    myself a guy who deletes emails.           I don't

       13    know.

       14    Q.          As a personal practice and

       15    maintaining your email box, do you ever go

       16    back --

       17    A.          I delete them every night.

       18    Q.          You delete them every night?

       19    A.          Yeah.

       20    Q.          Delete every email?

       21    A.          Every one.

       22    Q.          Okay.    So the instances that you

       23    may have emailed with Mr. Heskin in the

       24    past, you wouldn't have any of those emails


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        1    currently?

        2    A.           I guess not.

        3    Q.           Well, you couldn't possibly if

        4    you delete them every night?

        5    A.           I guess not.

        6    Q.           What is your email address?

        7    A.           Joemac888@aol.com.

        8    Q.           What's the significance of Joe

        9    Mac?

       10    A.           I like the name.

       11    Q.           Okay.   Do you use the name Joe

       12    Mac in any of your business activities?

       13    A.           Sure.

       14    Q.           Okay.   When did you start using

       15    Joe Mac?

       16    A.           2002.

       17    Q.           What was the reason for using

       18    Mac?

       19    A.           I like it.

       20    Q.           Any other reason?

       21    A.           Nope.

       22    Q.           When do you use Mac versus

       23    LaForet?

       24    A.           Any articles that I write, or any


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        1    publications I write on subjects to do with

        2    the business, I use my real name because I

        3    think it's important.        When I'm on the

        4    phone with merchants, I like to use Joe

        5    Mac, it's easier.       It's easier for them to

        6    understand, and I also don't want them

        7    calling my phone day and night.

        8    Q.          Okay, but you haven't legally

        9    changed your name, right?

       10    A.          No.

       11    Q.          Back to underwriting.        So -- if

       12    you need a break at any time, it's not a

       13    marathon, we're going to be here a little

       14    bit.   Any time you need a break...

       15    A.          I'm good.

       16    Q.          So you're not aware of any

       17    written underwriting guidelines for CBSG?

       18    A.          No.

       19    Q.          But you said you do know how how

       20    Full Spectrums underwrites deals for CBSG?

       21    A.          Yes, I do.      I know what's

       22    important in a file.

       23    Q.          Okay.

       24    A.          So mitigating, qualifying


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        1    factors.

        2    Q.          Okay.

        3    A.          Similar to your client that we're

        4    talking about her today.         We can go over

        5    that if you want.

        6    Q.          Were you involved in the

        7    underwriting process for my client's

        8    funding for CBSG?

        9    A.          Absolutely.

       10    Q.          And he's a Texas business, right?

       11    A.          Yes.

       12    Q.          And you work with other Texas

       13    businesses, right?

       14    A.          Sometimes, yeah.

       15    Q.          Do you know what percentage of

       16    your business clients that you refer to

       17    CBSG are from the State of Texas?

       18    A.          I wouldn't know.

       19    Q.          Do you keep any records where you

       20    would be able to ascertain what percentage

       21    of the deals or the number of deals

       22    involved a Texas business?

       23                MR. BERMAN:      Objection.

       24                THE WITNESS:      No.


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        1    BY MR. PROPER:

        2    Q.           If you wanted to go back and do a

        3    search to determine how many deals CBSG

        4    funded with a Texas business, what would

        5    you do?

        6    A.           I don't work at CBSG, so I

        7    couldn't do that.

        8    Q.           But you're their sales arm.

        9    A.           Correct.

       10    Q.           So you have all their sales

       11    documents, right?

       12    A.           But I might send the deal

       13    somewhere else.        How what CBSG does and

       14    doesn't do, I wouldn't have access to that

       15    data.     So I'm the sales arm, maybe I did a

       16    Texas deal with On Deck Capital.           Maybe I

       17    gave it to PayPal, or somebody else.

       18    Q.           Yeah.     All what coulda shoulda --

       19    A.           Right, so I don't want to testify

       20    right now to something I don't know the

       21    answer to.

       22    Q.           Yeah, I'm asking you a different

       23    question.

       24    A.           Got it.


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        1    Q.           I want to know what you would

        2    need to do to go back to your office and

        3    figure out how many deals CBSG funded with

        4    the Texas business?

        5                  MR. BERMAN: I think he answered

        6    that.    Do you want him to answer again?

        7                 MR. PROPER:     Yeah, I missed the

        8    answerr.

        9                 MR. BERMAN:     I don't know.

       10                 THE WITNESS:     I don't know.

       11    BY MR. PROPER:

       12    Q.           You don't know how you would do

       13    it?

       14    A.           No.    I'm not good on the

       15    computer.     I mean I sell the deals.        I

       16    don't know.

       17    Q.           Do you have any type of data base

       18    at Recruiting and Marketing Resources where

       19    you can track the individual deals you have

       20    with CBSG?

       21                 MR. BERMAN:     Objection.     You can

       22    answer if you understand the compound.

       23                 THE WITNESS:     Do I have a

       24    tracker?     No.


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        1    BY MR. PROPER:

        2    Q.           When you refer a business to

        3    CBSG, and CBSG funds the business, are you

        4    with me so far?

        5    A.           Sure.

        6    Q.           Recruiting and Marketing

        7    Resources gets paid by CBSG?

        8    A.           Sometimes.

        9    Q.           So there's times where you'll do

       10    a deal for CBSG and not get paid?

       11    A.           Correct.

       12    Q.           When do you get paid and when

       13    don't you?

       14    A.           It varies.     It depends on the

       15    client.     It depends how much we have to pay

       16    the independent sales operator.          It depends

       17    on a lot.

       18    Q.           Do you keep records of each deal

       19    that you bring to CBSG?

       20    A.           No.

       21    Q.           When you do have a deal with

       22    CBSG, are documents generated by your

       23    company?

       24    A.           No.


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        1    Q.          Everything you do is oral?

        2    A.          Yeah.

        3    Q.          You don't submit any type of

        4    application or anything to CBSG?

        5    A.          Sure.     I submit the application,

        6    but I don't produce the documents.           You

        7    asked me about documents, about contracts

        8    specifically, right?

        9    Q.          No.     I'm asking --

       10    A.          I don't receive any of the

       11    contracts from any of the lenders.           All I

       12    do is send over the application.           It gets

       13    approved and I deal with the customer.

       14    Q.          Who prepares the application with

       15    the business?

       16    A.          Could be any sales rep.

       17    Q.          But it's not you?

       18    A.          It could be me.

       19    Q.          Okay.     Do you know who prepared

       20    the application with my client?

       21    A.          It was an outside broker.         I

       22    don't know -- I don't remember his name.

       23    Q.          So in that instance when an

       24    outside broker works with my client on an


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        1    application, it would get sent to you, and

        2    you would in turn forward it to who?

        3    A.          In this case, CBSG.

        4    Q.          Would you send it to CBSG or

        5    would you send it to Full Spectrum or would

        6    you send it to them both?

        7    A.          Well, CBSG funded the deal,

        8    right?    So that was 2017, the company was

        9    much different then, so you're asking me a

       10    specific question about your client, now

       11    I'm going back to 2017.

       12    Q.          Okay.

       13    A.          A little different.

       14    Q.          Excellent.      So when did Full

       15    Spectrum start underwriting deals for CBSG?

       16    A.          I don't have the date.

       17    Q.          Was Full Spectrum underwriting

       18    deals for CBSG in 2017?

       19    A.          No.     Well, can you strike that,

       20    please?    I'm not positive.       I don't

       21    remember the exact date that Full Spectrum

       22    was incorporated.

       23    Q.          So who was doing the underwriting

       24    for CBSG before Full Spectrum?


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        1    A.          It was their own underwriters.

        2    Q.          It was their own underwriting

        3    department?

        4    A.          Yeah.

        5    Q.          So, you don't know sitting here

        6    today whether or not my clients deal was

        7    underwritten internally by employees of

        8    CBSG, or whether it was outsourced to Full

        9    Spectrum, correct?

       10    A.          That's correct.

       11    Q.          Okay.    Do you know why CBSG

       12    started using Full Spectrum?

       13    A.          No.

       14    Q.          Does CBSG have an ownership

       15    interest in Full Spectrum?

       16    A.          I don't believe so.

       17    Q.          Do you know if your wife has an

       18    ownership interest in Full Spectrum?

       19    A.          I don't know.

       20    Q.          I'm sorry?

       21    A.          I don't know.

       22    Q.          Was Full Spectrum in existence

       23    before it started underwriting deals for

       24    CBSG?


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        1    A.          I don't know that.

        2    Q.          Was the manner in which CBSG

        3    underwrote files different than how Full

        4    Spectrum is underwriting files for CBSG?

        5    A.          I don't know.

        6    Q.          You worked with underwriters at

        7    CBSG, right?

        8    A.          Uh-huh.

        9    Q.          Yes?

       10                MR. BERMAN: Verbal, yes, no.          He

       11    asked you did you work with underwriters at

       12    CBSG.    You have to answer verbally.

       13                MR. PROPER:      You just have to

       14    answer verbally.

       15                THE WITNESS:      Oh, yes.

       16    BY MR. PROPER:

       17    Q.          And you work with underwriters at

       18    Full Spectrum?

       19    A.          Right.

       20    Q.          So explain to me how, if at all,

       21    the underwriting process, as you understand

       22    it, differs between those two?

       23    A.          There's a time lapse, so you're

       24    bringing me back.       So CBSG had their own


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        1    underwriters back when, I don't know when.

        2    Q.          I know, I'm bringing you back.

        3    A.          Now it's Full Spectrum, so now

        4    we're here.     So it's two different things.

        5    Your file that we're talking about right

        6    now is 2017, so we're mincing words a

        7    little bit.

        8    Q.          I'm not trying to.

        9    A.          I know, but we are.

       10                MR. BERMAN:      So just tell him

       11    your recollection if you have one.

       12                THE WITNESS:      I don't know when

       13    any of these corporations were formatted.

       14    I don't know.      You're asking me corporate,

       15    internal information.        I don't know.

       16    BY MR. PROPER:

       17    Q.          I didn't think I asked --

       18    A.          All I can do is talk to you about

       19    the file, which we should prior get to.

       20                MR. BERMAN:      Hour and fifteen

       21    minutes in, we haven't asked a question

       22    about Fleetwood.

       23                MR. PROPER: No, we haven't.          It's

       24    a good point.


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        1                MR. BERMAN:      It's a great point.

        2                MR. PROPER:      I may go much longer

        3    before I get there, but I appreciate that.

        4    I have seven hours, so I'll use it.            And if

        5    I'm doing a bad job not asking about

        6    Fleetwood, you should be happy.

        7    BY MR. PROPER:

        8    Q.          So, let me go back because we had

        9    a disconnect.      I want to know if you

       10    remember how CBSG underwrote deals?

       11    A.          I don't recall.       Everything

       12    changes by the minute.        It's a very fast

       13    business.     Things change.      I don't remember

       14    how deals were underwritten.          I can tell

       15    you about that file if you wan to talk

       16    about that file.       I have a good

       17    recollection of that one.

       18    Q.          Why do you have a good

       19    recollection of Fleetwood?

       20    A.          Because I took a look at it

       21    before I came here.

       22    Q.          Got it.     From looking at the

       23    file, were you able to ascertain whether

       24    CBSG did the underwriting or Full Spectrum


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        1    did the underwriting?

        2    A.          No, I don't have those documents,

        3    but I know the transaction.         And I talked

        4    to your client.

        5    Q.          So you are not able to answer

        6    today how, if at all, the underwriting

        7    process at CBSG is different than the

        8    underwriting process at Full Spectrum?

        9    A.          I don't know.

       10    Q.          Got it.     Are there common things

       11    that CBSG did when underwriting files that

       12    Full Spectrum also does?

       13                MR. BERMAN: Objection.         You can

       14    answer if you understand.

       15                THE WITNESS:      There's common

       16    things that everybody does in the industry.

       17    So there's some common things in the

       18    underwriting process, for example, pulling

       19    somebody's credit.

       20    BY MR. PROPER:

       21    Q.          Let's start there, so I want to

       22    talk about some of the common things that

       23    CBSG has always done whether they're

       24    underwriting files or Full Spectrum is


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        1    underwriting files?

        2    A.           Or anyone, any company.

        3    Q.           I just care about any company.          I

        4    just care about CBSG or Full Spectrum.

        5    A.           But we're establishing the fact

        6    that there are some standards in the

        7    industry where we have to pull all credits,

        8    being that I'm from Recruiting and

        9    Marketing Resources, that's my job, to

       10    outsource deals.

       11    Q.           So let's talk about those

       12    standards.     One of the standards is pulling

       13    a credit report?

       14    A.           Sure.

       15    Q.           Is there a particular credit

       16    agency that you work with?

       17    A.           Experian.

       18    Q.           Do you pull the credit report or

       19    does the underwriter pull it?

       20    A.           I don't pull any of this.        I just

       21    know the process.

       22    Q.           Got it.     So one of the things is

       23    you pull an Experian credit report.           Do you

       24    understand the purpose of why the credit


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        1    report is important for an MCA transaction?

        2                 MR. BERMAN:     Objection.

        3    Foundation.

        4                 MR. PROPER:     You can answer.      He

        5    objected to the form of the question, which

        6    is fine.

        7                 MR. BERMAN:     I didn't, but you

        8    can answer.

        9                 MR. PROPER:     Well, that's what

       10    you should be objecting to.         We have normal

       11    stips.

       12                 MR. BERMAN:     Should I really?

       13                 MR. PROPER:     Yeah, because the

       14    only objection should be privilege or form,

       15    yes.

       16                 MR. BERMAN:     We don't agree on

       17    that because there's a Court order here,

       18    but that's okay.

       19                 MR. PROPER:     Or scope.     Go ahead.

       20                 MR. BERMAN: I don't need a lesson

       21    on being a lawyer.       You can answer if you

       22    understand the question.

       23                 THE WITNESS:     So their credit is

       24    important.     To establish debt to income


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        1    rations and affordability for the clients,

        2    and I think that's what a lot of cash

        3    advance companies nowadays are failing.

        4    Getting a good idea of the debt that the

        5    owners of the business have is very

        6    important.     That's on one side of the

        7    business, and I would imagine from the

        8    lenders side of the business it's important

        9    to establish whether they've defaulted on

       10    anyone in the past, if they have an tax

       11    liens, so on and so forth that might hinder

       12    their ability to get paid?

       13    BY MR. PROPER:

       14    Q.           So one of the important in an MCA

       15    transaction is the debt to income ratio of

       16    the borrower?

       17    A.           I think so.

       18    Q.           And in your experience, that's

       19    always been something that's important to

       20    how CBSG underwrites an and approves deals,

       21    right?

       22    A.           I think it's vital.

       23    Q.           I understand, and again, I just

       24    want to be clear.       I understand you think


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        1    it's vital.     In your experience, does CBSG

        2    also deem that vital?

        3    A.          I think that CBSG's underwriting

        4    guidelines are the best in the industry.

        5    Q.          And when you say CBSG's

        6    underwriting guidelines, what are you

        7    thinking of?

        8    A.          I'm thinking of what you just

        9    said, debt to income ratios.

       10    Q.          By a guideline, how do you know

       11    what CBSG's underwriting guidelines are?

       12    A.          I know every lenders underwriting

       13    guidelines.     It's my job.

       14    Q.          How are those underwriting

       15    guidelines communicated to you?

       16    A.          There's a master list that people

       17    send out, and you just get to know them.

       18    It's familiarity of what people accept and

       19    not accept as far as files go.          There's no

       20    -- there's a box, and you try to stay in

       21    that box.     Some lenders get a little too

       22    aggressive in my opinion, some good, some

       23    bad.

       24    Q.          So CBSG has some type of written


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        1    documents that you've seen that lays out

        2    core underwriting guidelines, right?

        3                MR. BERMAN:      Objection.

        4    Mischaracterization.

        5                MR. PROPER:      Is that no?     I

        6    thought you said there was a master list.

        7                THE WITNESS:      I'm going this for

        8    eight years.      I mean the guidelines will

        9    change according to a lot of different

       10    thing, so they don't specifically have to

       11    lay them out, but it's obviously -- for

       12    example, seasonality, you're not going to

       13    fund a landscaping company in Philadelphia

       14    in the middle of summer, right?           So there's

       15    certain things that they'll move in and out

       16    of as far as industry goes.         As far as

       17    seasonality.      As far as graphic, so there

       18    piece's a lot of different things that

       19    companies will look at before they make a

       20    credit decision.

       21    BY MR. PROPER:

       22    Q.          Understood.      With respect to CBSG

       23    specifically, have you seen anything in

       24    writing which would lay out any of the


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        1    underwriting guidelines that CBSG --

        2    A.          No.    I don't need to see them, I

        3    know what they are.

        4    Q.          Okay, so who told you what they

        5    were?

        6    A.          Over the years I've memorized

        7    them.    I figured out the products and

        8    services that they have to offer, and we

        9    try to facilitate those transactions.

       10    Q.          Memorize them from a conversation

       11    or a document, or both?

       12    A.          Just conversations, just talking.

       13    Q.          Okay, so who was the one that was

       14    educating you about CBSG's underwriting?

       15    A.          It's been eight years.         I don't

       16    remember.

       17    Q.          Can't think of one person that

       18    told you what the guidelines were?

       19    A.          Not really.

       20    Q.          So other than the credit report,

       21    what are some of the other standards or

       22    common things that all lenders do including

       23    CBSG?

       24    A.          A financial analysis.


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        1    Q.          What does that mean?

        2    A.          A financial analysis of what the

        3    bank statements look like, and if the deal

        4    is prudent, if it's a transaction that

        5    makes sense, what we do is there's

        6    standards in the file that I think there

        7    has to be benefit to the borrower.           If

        8    there's no benefit to the borrower, the

        9    transaction shouldn't be done, I'm a firm

       10    believer in that.       So I think that's the

       11    main standard, should be benefit to the

       12    customer.

       13                If you can't establish benefit to

       14    the customer, and they can't prove it out,

       15    then you shouldn't do the deal.

       16    Q.          Does CBSG require that the

       17    underwriters review a certain number of

       18    bank statements?

       19    A.          I don't know.

       20    Q.          Do you know if there's any

       21    requirement that CBSG go back six months or

       22    a year or two years?

       23    A.          It depends, again.        Like this

       24    time of year I think seasonality is


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        1    important, so you want to make sure that

        2    the clients are -- the merchants, if you

        3    would, are doing good deals, so you might

        4    want to get the pay back months in that

        5    respect.    So you want to get the three

        6    months past, and then three months forward

        7    just to make sure that seasonality doesn't

        8    come into effect because the winter could

        9    be challenging for some businesses.

       10    BY MR. PROPER:

       11    Q.          I get three months pasts.           In

       12    terms of underwriting, how do you get the

       13    three months forward?

       14    A.          From the year before.        It's

       15    called a look back, so you might go back to

       16    '18 and see how the business behaved in

       17    order to get a better feel for the merchant

       18    and see if he's making an intelligent

       19    decision.

       20    Q.          So CBSG likes to do a year over

       21    year analysis?

       22    A.          Not all the time, I can't vouge

       23    for every file, but I think it's important

       24    in some cases that's it's done.


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        1    Q.          Does CBSG have a standard in

        2    terms of how far back they want to look?

        3    A.          Three months.

        4    Q.          How about Dunn and Bradstreet

        5    reports, is that standard to pull?

        6    A.          Different companies use different

        7    products.     I think it's important to look

        8    at a business report to see if there's any

        9    UCC's filed to who's out there.          As far as

       10    taxes, there are some nice business reports

       11    I see different companies using.

       12    Q.          I asked about Dunn and Brastreete

       13    because that was pulled in my clients deal,

       14    right?

       15    A.          All right.

       16    Q.          Are you aware of that or no?

       17    A.          No.

       18    Q.          All right.      Is it standard to

       19    have some type of business report pulled

       20    for deals with CBSG?

       21    A.          I would hope so, yes.

       22    Q.          Okay.    In your experience with

       23    CBSG, is it common for them or an outside

       24    underwriter to pull some type of business


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        1    report?

        2    A.           Sure.

        3    Q.           And one of the things that is

        4    important to look for in a business report

        5    are UCC filings you mentioned?

        6    A.           I think it's important just to

        7    make sure that may didn't default on

        8    anyone, to protect the the cash advance

        9    company.     And it's also important to

       10    question some of the merchants that could

       11    be unscrupulous or maybe make a mistake on

       12    taking too much funding, which happens a

       13    lot.

       14                 I think there's a lot of issues

       15    in the industry with that, and I think it's

       16    important.

       17    Q.           What else is common or standard

       18    in CBSG's underwriting process?

       19    A.           I think the credit report is very

       20    important.     The matrix is very important.

       21    Analyzing the bank statements is very

       22    important to make sure that there's

       23    frequency of deposits depending on the

       24    product you're going to bring the merchant.


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        1    If a merchant has two or three or four

        2    deposits a month, you definitely don't want

        3    to give them a daily payment because it

        4    would be too aggressive on them, so some of

        5    those things need to be looked at.

        6                 Outstanding cash advances is

        7    really important to make sure they don't

        8    over leverage themselves, and if they do,

        9    if you want to help save the business, it's

       10    very important to get them into those

       11    products and services to help them.

       12    Q.           Is it common in deals funded by

       13    CBSG that CBSG have the business execute

       14    some type of security agreement?

       15    A.           They have an agreement, a

       16    standard agreement, yeah.

       17    Q.           And part of that standard

       18    agreement requires the owner to sign some

       19    type of personal guarantee, right?

       20    A.           I'm not sure about the documents

       21    right now.

       22    Q.           How about the documents back in

       23    2017, was it standard for business owners

       24    to sign a personal guarantee?


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        1    A.          Yes, it was.      A lot of the

        2    guidelines changed, and I think it's a good

        3    thing.    So, specifically in New York there

        4    was a lot of problems with COJ's, and I

        5    think it's a good thing they did a way with

        6    them.    Some companies are probably getting

        7    a little too aggressive, maybe, and they

        8    did away with those COJ's.         So now there

        9    are no COJ's.

       10    Q.          That's one of the changes was

       11    getting rid of COJ's?

       12    A.          Yeah.

       13    Q.          Do you know if deals, if any

       14    deals have other forms of executing in the

       15    event of a default, like a writ of

       16    attorney.     Do you know about that?

       17                MR. BERMAN: Objection.         You can

       18    answer if you know.

       19                THE WITNESS:      I don't know.

       20    BY MR. PROPER:

       21    Q.          Other -- you said there's a

       22    standard form that CBSG uses, correct, for

       23    MCA agreements?

       24                MR. BERMAN:      Objection.     I don't


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        1    think he did.

        2    BY MR. PROPER:

        3    Q.          Is there a standard form that

        4    CBSG uses for merchant cash advances?

        5    A.          I don't know.      What did you mean

        6    by a standard form?       What does that mean?

        7    Is there a contract?

        8    Q.          Yeah, is there a standard

        9    contract that's used?

       10    A.          Yes.

       11    Q.          And since 2012, has the form of

       12    that contract been roughly the same in

       13    terms of what the terms and conditions are?

       14    A.          Roughly, not the same.         All

       15    companies have changed their contracts for

       16    different types of reviews.         As far as CBSG

       17    goes, I can tell you one thing about it,

       18    which I hear my wife talking about it.

       19    There's constantly being reviewed because

       20    of pubic audits, so they're constantly

       21    looking and reviewing the contracts making

       22    sure they're in compliance.

       23    Q.          Do you know if the advances from

       24    CBSG are regulated by any governmental


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        1    entity?

        2                 MR. BERMAN: Objection.        You can

        3    answer.

        4                 THE WITNESS:      They are not.

        5    BY MR. PROPER:

        6    Q.           You mentioned audit.        Do you know

        7    if CBSG uses any independent third party

        8    auditors?

        9    A.           I don't know who they are.

       10    Q.           Do you know if they use any?

       11    A.           I'm sure they do.

       12    Q.           But you've never read a third

       13    party auditing report?

       14    A.           No.

       15                 MR. BERMAN: Can we take a break

       16    for the bathroom?

       17                 MR. PROPER:     Sure.

       18                        - - -

       19                 (Whereupon a short recess was

       20    taken.)

       21                        - - -

       22    BY MR. PROPER:

       23    Q.           I saw some document with a Form D

       24    that was filed with the Securities and


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        1    Exchange Commission by CBSG.          Have you ever

        2    seen any type of SEC filing by CBSG?

        3    A.           That's legal.      No.

        4    Q.           So you weren't involved in that

        5    process, right?

        6    A.           No.

        7    Q.           And there's a list of a bunch of

        8    different people that are called promoters.

        9    Do you know what those people do?

       10    A.           No.

       11    Q.           And then there's a list of a

       12    bunch of different people that get

       13    compensation from CBSG, and there's a bunch

       14    of different ones.        Did you ever deal with

       15    an Alvin Holdings?

       16    A.           No.

       17    Q.           What about a Lindsay Blake,

       18    Incorporated in Springfield?

       19    A.           No.

       20    Q.           A company, a Better Financial

       21    Plan in King of Prussia?

       22    A.           No.

       23    Q.           What about AG Morgan Tax and

       24    Accounting?


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        1    A.           No.

        2    Q.           So you're not involved with any

        3    of those individuals that might be trying

        4    to solicit investors for CBSG?

        5    A.           No, I don't run the sales.

        6    Q.           Okay.    When's the last time you

        7    saw Mr. Cole?

        8    A.           A couple weeks ago.

        9    Q.           What was the occasion that you

       10    saw him?

       11    A.           Coffee shop.

       12    Q.           How about Mr. Bromley, when was

       13    the last time you've seen him?

       14    A.           I don't know.      I couldn't recall.

       15    Q.           More than a month?

       16    A.           Probably.

       17    Q.           Back to sort of the form of the

       18    agreement.      Is it a standard form that

       19    there's a daily specified amount?           Is that

       20    standard or does it vary on the repayment?

       21    A.           It varies.     There's no standard

       22    in what we do.       Every deal is tailored

       23    specifically for the client.          Meaning that

       24    different clients, you can't tailor the


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        1    deal the same.       It has to be different

        2    because clients have different needs, and

        3    also clients have different types of

        4    businesses.

        5    Q.           Is there a standard or common

        6    repayment term?

        7    A.           No.

        8    Q.           Do all of these deals have a

        9    fixed repayment term of some kind?            Whether

       10    it's three months, six months?           Is there a

       11    fixed repayment term?

       12    A.           So, you're question is -- let's

       13    try to understand what you're asking me.

       14    We purchase receivables.         There's a fixed

       15    return, which varies.        It could be

       16    different for every client.          So these are

       17    not amortized obligations, so they're not

       18    loans.     So there is a fixed payback, but

       19    they do differ.

       20    Q.           Yeah, I'm just asking, is there a

       21    fixed repayment period?

       22    A.           Period, yes.

       23    Q.           What is the average length that a

       24    business has to repay the advance, in your


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        1    experience?

        2    A.           Depends on the company and

        3    depends on the product.         It depends on the

        4    needs.     It can go 22 business days, I've

        5    done deals where clients could, you know, a

        6    client would like to factor a receivable

        7    for an opportunity, or it could go up to

        8    300 days.     So it varies upon the need of

        9    the client.

       10    Q.           But every deal has some type of

       11    fixed period of time that the money has to

       12    be paid back, right?

       13    A.           Which is essential to our

       14    product, yes.

       15    Q.           Got it.    Do all of the contracts

       16    with CBSG have some type of default

       17    provision?

       18    A.           What does that mean?        I don't

       19    understand the question.

       20    Q.           Do you know what a default is?

       21    A.           Yes.    I don't know what the

       22    provision part is though.

       23    Q.           Let's just talk about a default.

       24    Are there guidelines that you're aware of


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        1    that CBSG has to determine when a business

        2    is in default under an MCA agreement?

        3    A.           No.

        4    Q.           Do you know how CBSG determines

        5    when a business is in default?

        6    A.           That's in the collections

        7    department, I don't know.

        8    Q.           Do you have anything to do with

        9    the collections department?

       10    A.           So, I do, in the sense that I'll

       11    try to help my clients get through some

       12    tough times, so I will work with

       13    collections to, more or less be a liaison

       14    between the two before -- especially even

       15    in the case with your client.          I think I

       16    was involved with the collections there as

       17    far as helping them get through.

       18                 So, yeah, I will contact --

       19    they'll contact me and I'll contact the

       20    client and see if I can help them and see

       21    what CBSG, or any other lender will do to

       22    help them in the time of need.

       23    Q.           Does CBSG keep statistics on

       24    default rates?


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        1    A.           I don't know.

        2    Q.           Do you have any idea what CBSG's

        3    current default rate is?

        4    A.           I wouldn't know.

        5    Q.           Do you know what CBSG's default

        6    rate was in 2018?

        7    A.           No.

        8    Q.           What about 2017?

        9    A.           No.

       10    Q.           You have no concept as to --

       11    A.           I can only talk -- I mean I know

       12    the files that came through Recruiting and

       13    Marketing Resources.        I can tell you that I

       14    probably had two percent top default rate.

       15    Two percent of my merchants probably did

       16    bad.

       17    Q.           And how do you determine what a

       18    default is to come up with the two percent?

       19    A.           I get a report.      They'll write me

       20    and say your client defaulted.

       21    Q.           And what is the form of that

       22    report?

       23    A.           It's not a form.       I have to pay

       24    back the commissions.        If I received any


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        1    commissions and the client defaulted, I

        2    would have to pay that back.          In our

        3    industry that's called a claw back, so I

        4    would know about that because they took my

        5    commissions back.

        6    Q.           Got it. So in your experience, in

        7    about two percent of your deals do you have

        8    to pay back your commission?

        9    A.           Probably, yeah.

       10    Q.           Is there a time period where the

       11    claw back is no longer is applicable?            In

       12    other words, like if six months pass, is

       13    there a period where they can't claw back

       14    any more?

       15    A.           Yeah.    Different companies have

       16    different claw backs.

       17    Q.           What is CBSG's policy?

       18    A.           Well, I give all my commissions

       19    back if they don't pay.

       20    Q.           Okay.    In your experience, does

       21    CBSG deem it to be a default whenever a

       22    business is unable to make a payment?

       23    A.           No, I don't think that's a

       24    default.


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        1    Q.           What is a default?

        2    A.           I think if you're looking from a

        3    collection stand point, which I guess is

        4    what you're asking me, there is, I would

        5    imagine, paid as agreed, right?           So   if

        6    somebody paid as agreed through the entire

        7    contract, no missed payments, no returns,

        8    that would be one way to look at it.            A

        9    default could constitute a stop payment.

       10    Q.           What if you have four NCF's?               Do

       11    you know what an NCF is?

       12    A.           I don't know.

       13    Q.           I'm sorry, NSF.      I heard of that,

       14    yeah.

       15    A.           Non sufficient funds, yeah.            I

       16    wouldn't say that would constitute a

       17    default, no.      I don't think any cash

       18    advance company would constitute that as a

       19    default.

       20    Q.           Do you know whether there's an

       21    addendum to my client's agreement which

       22    states that four NSF's as a default?

       23    A.           I don't know.

       24    Q.           You don't now?


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        1    A.           2017, I don't remember.

        2    Q.           Do you know whether it was common

        3    in 2017 for CBSG to have in its agreements

        4    that were four NSFs is a default?

        5    A.           I don't know.

        6    Q.           Do you know if CBSG's agreements

        7    currently have a provision which states

        8    four NFSs is a default?

        9    A.           I don't know.

       10    Q.           Do you know if there's any

       11    provision in CBSG's form agreements back in

       12    2017 that filing for bankruptcy or

       13    declaring bankruptcy is an event of

       14    default?

       15                 MR. BERMAN: Objection.

       16                 MR. PROPER:     Do you know?

       17                 MR. BERMAN:     You can answer if

       18    you know.

       19                 THE WITNESS:      I don't know.

       20                 MR. BERMAN: I raised the

       21    mischaracterization issue again for him.

       22    BY MR. PROPER:

       23    Q.           Is filing for bankruptcy an event

       24    of default under CBSG's contracts?


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        1    A.           I don't know.

        2    Q.           Have you ever read article 3.1 of

        3    CBSG's contracts, which is titled Events of

        4    Defaults and Remedies?

        5                 MR. BERMAN: Are you referring to

        6    a specific contract or generally?

        7                 THE WITNESS:      That's a 2017

        8    contract; I couldn't possibly remember.

        9    BY MR. PROPER:

       10    Q.           Are you aware that in my clients

       11    contract, there's a provision in article 3

       12    that's titled Events of Defaults and

       13    Remedies, are you aware of that?

       14    A.           I believe you if it says it

       15    there.     I don't know if I'm aware of it.

       16    Q.           Is one of the documents that you

       17    reviewed in preparation for today's

       18    deposition the contract with my client and

       19    CBSG?

       20    A.           No.

       21    Q.           Do you know if it's an event of

       22    default under the agreement with my client

       23    and CBSG that merchant shall admit in

       24    writing its inability to pay its debts or


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        1    shall make a general assignment for the

        2    benefit of creditors or any proceedings

        3    shall be instituted by or against merchants

        4    seeking to adjudicate it a bankrupt or

        5    insolvent, or seeking reorganization,

        6    arrangement adjustment, or composition of

        7    it or its debts?

        8    A.           I'm not a lawyer.       I don't know

        9    even what that means.        Respectfully, you

       10    guys, I don't know -- I'm not trying to be

       11    aloof.     I don't understand any of this.

       12    I'm not a lawyer.       I'm a salesman for

       13    Recruiting and Marketing Resources, and

       14    what CBSG wrote in their contract, I don't

       15    know.    Especially back in 2017.

       16    Q.           In your experience in 2017, did

       17    CBSG treat the filing of bankruptcy to be

       18    an event of default?

       19    A.           I don't know.

       20    Q.           Have you ever been involved with

       21    a situation where one of your clients has

       22    filed for bankruptcy?

       23    A.           Sure.

       24    Q.           Has one of those clients --


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        1    strike that.      Has there be been an instance

        2    where wasn't of the clients that have filed

        3    for bankruptcy had an outstanding

        4    obligation to CBSG?

        5    A.           Probably.

        6    Q.           And in those instances that

        7    you're thinking of, did CBSG pursue

        8    collections or attempt to get its money

        9    back from the borrower?

       10    A.           I don't know the exact

       11    underwriting -- the exact collections

       12    standards for CBSG, but if I were to guess,

       13    I don't think you're allowed to collect

       14    when someone is in bankruptcy.           After

       15    they're in bankruptcy they put a stay, and

       16    you're not allowed to contact the merchant.

       17    Usually it's done through a trustee, if you

       18    guys are familiar with that process.

       19    Q.           Do you know if CBSG files claims

       20    as part of its common practice when a

       21    borrower files bankruptcy?

       22                 MR. BERMAN:     Objection.     You can

       23    answer.

       24                 MR. PROPER:     Do you know?


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        1                 THE WITNESS: I don't know.

        2    BY MR. PROPER:

        3    Q.           Do you know whether CBSG secures

        4    any of its MCA agreements with mortgages?

        5    A.           Yes.

        6    Q.           Have you had --

        7    A.           On occasion.      Because, again,

        8    it's very important for me to say this,

        9    there's many different products and

       10    services, so we have collateralized

       11    products.     We have all different products

       12    and services that we offer our clients.

       13    Q.           Do you file UCC liens -- strike

       14    that.     Does CBSG file UCC liens as part of

       15    its common business practice?

       16                 MR. BERMAN: Objection you can

       17    answer.

       18                 THE WITNESS:      I don't know.

       19    BY MR. PROPER:

       20    Q.           What other type of security does

       21    CBSG routinely seek from businesses that it

       22    funds?

       23                 MR. BERMAN: Objection.        You can

       24    answer.


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        1                 THE WITNESS:      Real estate, only.

        2    BY MR. PROPER:

        3    Q.           What other forms of real estate

        4    other than mortgages?

        5    A.           Is there another form of real

        6    estate besides a mortgage.

        7    Q.           So when CBSG is not seeking

        8    security from a mortgage, what other types

        9    of security is CBSG requiring from the

       10    borrower?

       11    A.           On a collateral deal, or are you

       12    going back to MCA.

       13    Q.           MCA?

       14    A.           The security is the receivables,

       15    we're purchasing receivables.

       16    Q.           Is the failure of a business to

       17    pay back the specified amount, whatever the

       18    repayment period is, whether it's a day, a

       19    week or a month.       Is the failure to pay

       20    back to that money a default?

       21                 MR. BERMAN:     Objection.     You can

       22    answer.

       23                 THE WITNESS:      Is the failure to

       24    pay back money to a company that you took


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        1    and didn't pay it back?         I would say that's

        2    a default, yes.

        3    BY MR. PROPER:

        4    Q.           Is that a default as you

        5    understand CBSG's MCA agreements?           When a

        6    business --

        7    A.           I think it's any business.         It's

        8    similar to my car.        If I don't pay for my

        9    car, they're going to impound it.           It's the

       10    same type of thing, so yes, I would say it

       11    constitutes a default.

       12    Q.           Are aware of any instance where

       13    CBSG has not received the money specified

       14    under an MCA agreement where CBSG has not

       15    treated that to be a default?

       16                 MR. BERMAN: Objection.

       17                 THE WITNESS:      I don't understand

       18    the question.

       19    BY MR. PROPER:

       20    Q.           Yeah.    So has there been an

       21    instance, in your experience, where a

       22    business didn't pay CBSG the money

       23    specified in the agreement, and CBSG said,

       24    no that's not a default, don't worry about


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        1    it?

        2    A.           I wouldn't know.

        3    Q.           Can you think of an instance

        4    where that's happened?

        5    A.           No.

        6    Q.           Do you know if CBSG has ever

        7    commenced a lawsuit personally against the

        8    owner of a business when a business has

        9    filed bankruptcy?

       10    A.           I don't know.      I'm not in legal.

       11    They have attorneys that handle that, I

       12    guess.

       13    Q.           What's the difference between a

       14    collateral deal and an MCA?

       15    A.           The collateral is -- when a

       16    person purchases collateral, they're

       17    looking to potentially get a longer term on

       18    the deal as opposed to a specific MCA which

       19    might be a little bit shorter that they

       20    qualify for, so they'll pledge their

       21    commercial asset in order to get a longer

       22    term deal.

       23    Q.           When is a collateral -- strike

       24    that.


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        1                 When is collateral required when

        2    the term is longer than what?

        3    A.           There's no collateral required

        4    ever, they volunteer the collateral.

        5    Q.           So as part of CBSG's underwriting

        6    guidelines, if you want money to be paid

        7    back in, say over a year, would collateral

        8    would be required?

        9    A.           Could be, depends on the

       10    underwriter, yes.       Let me clarify that.

       11    There's no requirement for collateral.             You

       12    said the word, "requirement" at the end.             I

       13    didn't hear you.       I'm sorry.     There's no

       14    requirement for collateral.

       15    Q.           Is a collateral deal still an MCA

       16    agreement?

       17    A.           Yes.

       18    Q.           Are all of CBSG deals papered in

       19    the form of an MCA agreement?

       20    A.           Yes.

       21    Q.           So some may have collateral, some

       22    may have different repayment terms, but all

       23    of the agreements are structured as an MCA,

       24    right?


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        1                 MR. BERMAN: Objection.        You can

        2    answer.

        3                 THE WITNESS:      So, we are an MCA

        4    company.     We purchase receivables.         The

        5    contracts differ for the different products

        6    that we have.       Every lender has different

        7    products, so the contracts differ.            You're

        8    going to have different addendums in there.

        9    You're going to have all kinds of different

       10    things in the contracts according to what

       11    the program is that the person qualifies

       12    for.

       13    BY MR. PROPER:

       14    Q.           But they're call structured as a

       15    sale of receivables?

       16    A.           Yes.    No, purchase of receivables

       17    of what their client is selling, we're

       18    purchasing.      Right.

       19    Q.           Is CBSG purchasing a set of

       20    existing receivables, or is it just

       21    purchasing an interest in the future

       22    revenue stream of the business?

       23                 MR. BERMAN: Objection.

       24                 THE WITNESS:      Future revenue


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        1    stream.

        2    BY MR. PROPER:

        3    Q.           So, has there ever been an

        4    instance in your experience dealing with

        5    CBSG where CBSG underwrites the

        6    collectability of a specific outstanding

        7    receivable?

        8    A.           Yeah, I think that it's important

        9    to understand the business and know what

       10    kind of receivables they have in order to

       11    make good lending decisions, yeah.

       12    Q.           What does CBSG do, either

       13    directly when they were underwriting deals

       14    themselves, or through Full Spectrum to

       15    underwrite the credit worthiness of the

       16    debtor, the person that owes money to the

       17    business?

       18                 MR. BERMAN: Objection.        You can

       19    answer.

       20                 THE WITNESS:      There is no contact

       21    with the debtors.

       22    BY MR. PROPER:

       23    Q.           Okay.

       24    A.           Which makes the product unique.


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        1    Most factor agreements, and why people love

        2    our product is it's not as cumbersome,

        3    number one, and number two, most factors

        4    will contact the creditor to let them know

        5    that they're owed they money.          A lot of

        6    people don't like their clients to be

        7    contacted, that's why people choose to sell

        8    their future receivables as opposed to a

        9    specific receivable in a traditional

       10    factor.

       11    Q.           Does CBSG use different forms,

       12    depending upon the state, or only different

       13    forms depending upon the product?

       14    A.           I don't know.

       15    Q.           Do you know if there's a unique

       16    MCA form contract for deals involving Texas

       17    businesses?

       18    A.           No.

       19    Q.           How many Texas businesses have

       20    you dealt with in the last six months?

       21    A.           I think you asked me that

       22    earlier.     I don't know.

       23    Q.           I asked you more generally, but

       24    I'm asking as specific time frame.


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        1    A.           I don't know.

        2    Q.           How about in the last 30 days?

        3    A.           I call 500 people a day.         I don't

        4    know who is from Texas.

        5    Q.           Well, in order to fund the deal,

        6    one of the things you have to ascertain on

        7    behalf of CBSG is where the business is

        8    located, right?

        9    A.           Uh-huh.

       10                 MR. BERMAN:     Objection.

       11    BY MR. PROPER:

       12    Q.           Yes?

       13    A.           Yes.

       14    Q.           In fact, that's one of the

       15    questions on the credit application, isn't

       16    it?

       17    A.           Right.

       18    Q.           Is that something you take note

       19    of, where the business is located

       20    A.           Not really.     I don't underwrite

       21    any of the files.

       22    Q.           Do you know if CBSG has records

       23    on the location of its individual

       24    borrowers?


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        1    A.           No I do not.      I would imagine,

        2    yes.     As you said, it's in their

        3    application, right?

        4    Q.           Do you have copies of the

        5    applications as part of your business

        6    files?

        7    A.           Sure.

        8    Q.           So you could go back and look at

        9    individual applications that resulted in

       10    funding by CBSG to determine which of those

       11    individuals, since 2015, were located in

       12    Texas, right?

       13    A.           Yes.

       14    Q.           So I was asking before, which is

       15    what I was just trying to get at, is there

       16    a way that you could ascertain how many

       17    deals funded by CBSG involved a Texas

       18    business, and one of the ways you could do

       19    it is manually looking at the different

       20    applications, right?

       21    A.           Yeah, and let me clarify

       22    something from earlier too because I think

       23    we're were tripping on our words here.             I'm

       24    not a technology person.         I don't delete my


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        1    emails on purpose.        We have all my emails

        2    on a server.      I just have a phone.        I don't

        3    specifically go around deleting emails if

        4    that's what you're leading to.

        5    Q.           I wasn't leading to anything; I

        6    just asked questions.        Your answers are

        7    your answers.

        8    A.           Thank you.

        9    Q.           So just to circle back to that.

       10    Are your business emails deleted on an

       11    daily basis or no?

       12    A.           I don't know.

       13    Q.           The emails that you testified to

       14    previously as deleting each day are emails

       15    on your phone?

       16    A.           Yeah.    In other words, I think I

       17    delete them on my phone, but they're

       18    obviously stayed saved on our server,

       19    right?

       20    Q.           Well, I don't know how your

       21    business works.       Do you have a corporate

       22    email that you can access through your

       23    phone?

       24    A.           Yes, it's saved on the server, so


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        1    I erase it on my phone.         I'm sure it's

        2    saved on the server.

        3    Q.           You're sure it's saved on your

        4    server because your attorney told you it

        5    was or you know that?

        6                 MR. BERMAN: Objection.         You don't

        7    have to answer anything I told you.

        8                 MR. PROPER: Well, when you

        9    whisper in his ear.

       10                 MR. BERMAN:     I didn't whisper

       11    anything in his ear, let's not make

       12    misrepresentations on the record.            You're

       13    instructed not to talk about anything I

       14    told you.     If you know, you can answer the

       15    question.

       16    BY MR. PROPER:

       17    Q.           Did you have a conversation with

       18    your attorney in the hall about you

       19    deleting your emails?

       20                 MR. BERMAN: You have absolutely

       21    no answer to that question.

       22                 THE WITNESS:      Of course.

       23                 MR. PROPER:     I just want to state

       24    on the record in the Third Circuit, if you


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        1    have a conversation with your client about

        2    specific things that happened during a

        3    deposition, then that is a hundred percent

        4    discoverable.

        5                 So if counsel is directing his

        6    client not to even answer the question

        7    whether the conversation took place, then

        8    note my objection.

        9                 THE WITNESS:      I never had a

       10    conversation about anything that we spoke

       11    about.     You can put that on the record.

       12    BY MR. PROPER:

       13    Q.           Have you searched for emails that

       14    relate to any of the issues in this

       15    lawsuit?

       16    A.           No.

       17    Q.           Have you been instructed by

       18    anyone that you should be preserving emails

       19    that relate to this lawsuit?

       20                 MR. BERMAN: Objection to the

       21    extent it calls for attorney/client, don't

       22    provide any information that the attorneys

       23    gave you. Otherwise you can answer.

       24    BY MR. PROPER:


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        1    Q.           Have you received a litigation

        2    hold letter?

        3                 MR. BERMAN:     Again, same

        4    instruction.

        5                 MR. PROPER:     Just for the record,

        6    it is absolutely not privileged whether or

        7    not a witness received a litigation hold,

        8    or was instructed whether or not to

        9    preserve documents.        It is not protected by

       10    the attorney/client privilege.           So note my

       11    objection to that.

       12                 MR. BERMAN:     Except for the fact

       13    that he testified that all of his emails

       14    are maintained.       So you can answer.

       15                 MR. HESKIN: You mean after he

       16    said he deleted them all?

       17                 MR. BERMAN:     It's his testimony.

       18                 THE WITNESS:      I made a mistake.

       19    On my phone, I said I deleted them.            And

       20    you came back to me, and said, "do you have

       21    the files"?      Of course, I have a server,

       22    but I didn't want to misrepresent myself.

       23    BY MR. PROPER:

       24    Q.           Have you ever represented to a


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        1    potential investor of CBSG, that CBSG loans

        2    money to borrowers?

        3    A.           Can you repeat the question?

        4    Q.           Have you ever represented to an

        5    investor, or potential investor of CBSG

        6    that CBSG loans money to borrowers?

        7                 MR. BERMAN:     Objection.

        8                 THE WITNESS:      No.   I don't know.

        9    BY MR. PROPER:

       10    Q.           Have you ever represented to an

       11    investor or potential investor that CBSG

       12    has a standard interest rate for its loans?

       13                 MR. BERMAN: Objection.        You're

       14    instructed not to answer any investor

       15    communications.       As I welcomed you before,

       16    please call the Court.

       17    BY MR. PROPER:

       18    Q.           Have you ever represented to any

       19    third party that CBSG has a standard

       20    interest rate of 35 percent on its loans?

       21                 MR. BERMAN:     Objection.     You can

       22    answer.

       23                 THE WITNESS:      No.

       24    BY MR. PROPER:


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        1    Q.           Does CBSG have --

        2    A.           What loans?     First of all, I'm

        3    confused.

        4    Q.           Do you know what an interest rate

        5    is?

        6    A.           Sure.

        7    Q.           Have you ever represented to

        8    anyone that the standard rate on CBSG

        9    advance is 35 percent?

       10    A.           CBSG doesn't charge an interest

       11    rate.

       12    Q.           So the answer to my question is,

       13    you would have never told any third party

       14    that CBSG's average rate is 35 percent?

       15    A.           We don't charge an interest rate,

       16    so of course not.

       17    Q.           Got it.    Have you ever

       18    represented to any third party that CBSG

       19    has an average factor rate?

       20    A.           I don't know.

       21    Q.           Do you know what CBSG's average

       22    factor rate is?

       23    A.           No.

       24    Q.           Are you familiar with CBSG's


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        1    website?

        2    A.           Yeah.

        3    Q.           Does CBSG currently have a

        4    website?

        5    A.           I believe so.

        6    Q.           Not PAR Funding.       Do you know if

        7    there's a website specifically for CBSG?

        8    A.           I don't know.

        9    Q.           Do you know whether CBSG has ever

       10    had a website?

       11    A.           I'm not sure.

       12    Q.           Do you know whether CBSG has ever

       13    used an application that was titled, A Loan

       14    Application?

       15    A.           I don't know.

       16    Q.           Has CBSG ever issued a loan

       17    product?

       18    A.           No.

       19    Q.           Do you know if CBSG has ever

       20    represented on its website that its MCA

       21    products are loans?

       22    A.           I don't know.

       23    Q.           Has the structure of CBSG's

       24    products from 2012 to present always been


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        1    in the form of an MCA transaction of some

        2    kind?

        3    A.           I believe so.

        4    Q.           Do you have email communications

        5    with investors?

        6    A.           No.

        7    Q.           Do you have email communications

        8    with anyone that is trying to solicit

        9    investors for CBSG?

       10                 MR. BERMAN:     Objection.     You

       11    don't need to answer questions with respect

       12    to investors.       I welcome you to call the

       13    Court.

       14    BY MR. PROPER:

       15    Q.           Do you text with any investors or

       16    potential investors of CBSG?

       17                 MR. BERMAN:     Same objection.        You

       18    can call the Court at any time.

       19                 MR. PROPER:     I'm close.

       20                 MR. BERMAN: Okay, call.        The

       21    Judge instructed us to do that.           We have

       22    asserted objections on the record with

       23    respect to investor communications for

       24    class certification purposes.          I welcome


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        1    you to call the Court.         We're here now for

        2    a deposition.       The Judge instructed you to

        3    do so if there's a dispute.

        4                 MR. PROPER: Yeah, I remember the

        5    email.

        6                 MR. BERMAN: So let's call the

        7    Court.     You know my position.

        8                 MR. HESKIN: We'll get there.

        9                 MR. BERMAN: Whenever you want.

       10                 MR. PROPER: I'm just as anxious

       11    as you are, but I'm just showing a little

       12    bit of patience.       Trying to move things

       13    along.     Seeing what we can accomplish

       14    without disagreeing.

       15    Q.           I need to ask you this, and it's

       16    not to embarrass you in any way.           Have you

       17    ever been convicted of a crime that

       18    involves --

       19    A.           Yes.

       20    Q.           Let me just ask the full

       21    question.

       22    A.           I answered already.       That's it.

       23                 MR. BERMAN: Let him ask the

       24    question one time.


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        1    BY MR. PROPER:

        2    Q.           I just need to ask the question

        3    for the record.       Have you ever been

        4    convicted of a crime that involves

        5    dishonesty?

        6    A.           Never.

        7    Q.           Okay.    Have you ever been

        8    convicted of a crime that involves fraud?

        9    A.           Never.

       10    Q.           Was the conviction for the real

       11    estate incident in New York, did that

       12    involve any type of fraud?

       13    A.           There was never a real estate

       14    company, no.

       15    Q.           What were you convicted of?

       16                 MR. BERMAN: Just answer that one

       17    question.     Well -- strike that.        You have

       18    his public record.        Do you want to ask him

       19    if he was convicted of that crime?

       20                 MR. PROPER:     I just want to know

       21    from the witness, so I know if it involves

       22    a crime of dishonesty, which would be

       23    relevant.

       24                 MR. BERMAN:     And he said no.


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        1                 MR. PROPER:     And now I'm

        2    exploring to find out what he was convicted

        3    of so I can determine.

        4                 MR. BERMAN:     You know.

        5                 MR. PROPER: I'm entitled to ask

        6    the witness what he was convicted of so I

        7    can determine whether it's relevant to his

        8    testimony as a fact witness.          If it

        9    involves a crime of dishonesty, which he

       10    doesn't know what the rules of evidence

       11    are, but you know know what the rules of

       12    evidence are.      And I know what the rules of

       13    evidence are.      So I need to ascertain from

       14    the witness what exactly he was convicted

       15    of and when.

       16                 THE WITNESS:      I was convicted in

       17    2007 for a money laundering case, and I did

       18    my time.

       19    BY MR. PROPER:

       20    Q.           What state was that?

       21    A.           I came out, and work here now.

       22    And life is good, and I want to put that on

       23    the record too.        New York.

       24    Q.           Got it.     Thank you.    That's all.


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        1                 Does your brother, James, have

        2    any dealings with CBSG?

        3    A.           I won't talk about my brother.

        4                 MR. HESKIN: Are you instructing

        5    him not to answer,

        6                 MR. BERMAN:     I think he answered.

        7    BY MR. PROPER:

        8    Q.           So no questions of any kind.          If

        9    I asked 50 questions about your brother and

       10    his relationship to this case, your answer

       11    for all of them, is you're not going to

       12    answer?

       13    A.           The answer is he has nothing to

       14    do with the business, so there is no

       15    answer.

       16    Q.           Has he ever had anything to do

       17    with CBSG?

       18    A.           No.

       19    Q.           Has he ever attempted to collect

       20    monies on behalf of CBSG?

       21    A.           I don't know.

       22    Q.           Has your brother ever done any

       23    work for your marketing company?

       24                 MR. BERMAN:     Objection.


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        1    Mischaracterization.

        2                 THE WITNESS:      I don't know my

        3    brother's business.

        4    BY MR. PROPER:

        5    Q.           So if you don't -- I just need to

        6    ask the questions.        Has James LaForte ever

        7    done any work on behalf of Recruiting and

        8    Marketing Resources?

        9    A.           I don't know.

       10    Q.           If he had, would you know?

       11    A.           I don't know.

       12    Q.           And you don't know whether James

       13    LaForte has done any work, consulting or

       14    otherwise, for CBSG?

       15    A.           No.

       16    Q.           He hasn't or you don't know?

       17    A.           I don't know.

       18    Q.           How about Mr. Geo, do you know

       19    who he is?

       20    A.           Yeah, I do.

       21    Q.           Who is that gentleman?

       22    A.           He was a mediator for the company

       23    for a while.

       24    Q.           What's his full name, if you


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        1    know?

        2    A.           I don't know.

        3    Q.           When was the first time you met

        4    him?

        5    A.           I don't remember.

        6    Q.           Do you know anything about his

        7    background?

        8    A.           Not really.

        9    Q.           What did he do on behalf of CBSG?

       10    A.           He would -- what we tried to do

       11    is, we tried to go out and settle disputes

       12    with clients, and I thought it was a great

       13    program.     He would go and meet clients to

       14    see if he could mediate prior to someone

       15    catching a judgment or a default.

       16    Q.           Were you the one that contacted

       17    Mr. Geo to go visit with people that were

       18    in default?

       19    A.           So if I had a default, I would

       20    contact sometimes to go meet with clients

       21    that wanted to meet with us.          I thought it

       22    was a great program, and it worked out

       23    pretty well.

       24    Q.           How long did the program go on


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        1    for?

        2    A.           I can't say exact, probably a

        3    year and a half.

        4    Q.           Do you know how many visits Mr.

        5    Geo made to CBSG customers during this 12

        6    to 18 month period?

        7    A.           I couldn't say how many.

        8    Q.           Who was the one that would

        9    contact Mr. Geo for him to get involved

       10    under this dispute settlement program?

       11    A.           I don't understand the question.

       12    Q.           Yeah, so if Mr. Geo was going to

       13    make a visit to a business, would you

       14    contact him or would someone else contact

       15    him from CBSG?

       16    A.           Someone from CBSG would contact

       17    him.

       18    Q.           Do you know if he had a written

       19    agreement with CBSG?

       20    A.           No.

       21    Q.           Do you know how he was

       22    compensated?

       23    A.           No.

       24    Q.           You don't know if he was paid


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        1    based on whether he was successful in

        2    getting money from the businesses?

        3    A.           No.

        4    Q.           Do you know if Mr. Geo ever made

        5    threats to businesses in order to secure

        6    payments?

        7    A.           I don't think he made any threats

        8    to any business.

        9    Q.           Did any customers ever complain

       10    to you personally that Mr. Geo made threats

       11    to them?

       12    A.           Of course.

       13    Q.           Do you recall on how many

       14    instances a business owner contacted you

       15    directly and complained that Mr. Geo had

       16    expressly or implicitly threatened them?

       17    A.           So the clients, for the most

       18    part, the program worked very well.            I

       19    would say 95 percent of the time, the

       20    clients enjoyed the fact that they were

       21    able to sit down and mediate with somebody

       22    in person as opposed to being on the

       23    phones.     Like any other product, you know,

       24    five percent of them probably didn't like


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        1    the fact that somebody showed up to their

        2    office space, but, you know, in general I

        3    think the program worked out very well.

        4    Q.           Why did the program end, if it

        5    did?

        6    A.           Bloomberg article.

        7    Q.           Why did the Bloomberg article

        8    result in that program ending?

        9    A.           In hindsight I could see the

       10    optics on that would look bad, and I know

       11    where you guys are going with this, but it

       12    was a great program.        Most of the clients

       13    enjoyed the fact that we went to meet them

       14    in person and didn't have a default, we

       15    saved a lot of businesses like that.

       16                 So I say if you saw 500 clients,

       17    I would say 450 of those clients had their

       18    businesses saved because of the visit as

       19    opposed to getting a judgment or lien on

       20    them, or potentially losing their business.

       21    Q.           Are you personally involved at

       22    all with contacting business owners in

       23    default and trying to come up with like a

       24    payment arrangement?


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        1    A.           Sometimes. If they're my client,

        2    yes.

        3    Q.           Aren't all of CBSG deals your

        4    clients?

        5    A.           So, yes and no.      Because I handle

        6    the ISOs, and I'm a mediators.           Sometimes

        7    the ISOs handle it them themselves, it

        8    depends.

        9    Q.           So you mean sometimes the ISOs

       10    will deal directly with CBSG without your

       11    involvement?

       12    A.           Correct, or they can go directly

       13    to the merchant and try to work out an

       14    agreement with the merchant themselves.

       15    Q.           So just so we're clear because I

       16    heard you differently before, which is

       17    fine.    Are you involved --

       18    A.           You're talking about collections

       19    now, right?      We're on another subject now.

       20    Q.           Not collections.       I want to know

       21    if all of the funding deals from CBSG

       22    derive from your involvement?

       23    A.           Okay.    Respectfully, you're going

       24    to another segment of the business.            We're


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        1    on collections now.        You're bringing up Mr.

        2    Geo.    You're on collections.        You're

        3    confusing me because you're going to back

        4    to underwriting and processing now, that's

        5    different.      On the collection side, it is

        6    an effort by the ISO because they got paid

        7    a commission, right, so they don't want to

        8    have a claw back.       And they also -- we, we

        9    want to make a negotiation with our client

       10    to make sure we get paid.

       11    Q.           That I understand completely.          I

       12    just want to understand, and I am going

       13    back.    Are you all the deals that CBSG

       14    funds deals that you're involved with at

       15    the start?

       16    A.           I wouldn't say all; I would say

       17    majority.

       18    Q.           And if one of the deals that you

       19    had brought to CBSG goes in default because

       20    the borrower doesn't make a payment, there

       21    have been occasions where you would make a

       22    phone call, right?

       23    A.           Sure.

       24    Q.           One of those phone calls was to


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        1    Robert Fleetwood, correct?

        2    A.           Sure.

        3    Q.           Do you recall the sum and

        4    substance of what you and Mr. Fleetwood

        5    talked about?

        6    A.           No.

        7    Q.           Did you make any threats to Mr.

        8    Fleetwood?

        9    A.           Absolutely not.

       10    Q.           Did you suggest that you would

       11    ruin his business if he didn't become

       12    current?

       13    A.           Absolutely not.

       14    Q.           That's not something you would

       15    do?

       16    A.           No.

       17    Q.           Is it a common practice for deals

       18    you're involved with to contact borrowers

       19    in default to come up with a payment

       20    arrangement?

       21    A.           Sure.

       22    Q.           And when you come up with a

       23    payment arrangement, does CBSG charge a

       24    finance or some restructuring fee?


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        1    A.           I don't know.      It depends.     If a

        2    client is going to initiate another

        3    transaction, yes.

        4    Q.           In my client's case, was there an

        5    instance where you negotiated a smaller

        6    daily payment to try to help him out?

        7    A.           Yes.

        8    Q.           Okay, and when that happened, was

        9    a finance fee charged?

       10    A.           I don't believe so.

       11    Q.           And you said there were times

       12    where a finance fee would be charged, and

       13    that was if another deal was going to be

       14    made?

       15    A.           Yeah, if there was a refinance,

       16    is that what you're talking about?

       17    Q.           No.    I'm talking about if there's

       18    a workout, I'll use that terminology, that

       19    a borrower hasn't paid you.          The borrower

       20    is in default; you're trying to work out a

       21    payment arrangement.

       22    A.           Right.

       23    Q.           Under that situation, are there

       24    any additional fees that are imposed when


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        1    you're restructuring the payment?

        2    A.           I don't believe so.       I'm not

        3    sure.    Different lending companies handle

        4    it differently.       I'm not positive.

        5    Q.           Okay, so you're not sure one way

        6    or the other what CBSG does; is that fair?

        7    A.           In a default situation?

        8    Q.           Yeah, when there's a restructured

        9    payment, you're not sure specifically

       10    whether CBSG charges a finance fee or not?

       11    A.           No, I'm not sure.

       12    Q.           If CBSG reduces a client's

       13    payment, was that borrower in default prior

       14    to the new payment term?

       15                 MR. BERMAN: Objection.

       16                 THE WITNESS:      It depends.

       17    BY MR. PROPER:

       18    Q.           Depends on what?

       19    A.           What client?      Who are we talking

       20    about?

       21    Q.           I'm just talking generally.

       22    Isn't it a fair statement that the only

       23    time you would work out a payment

       24    arrangement is when a borrower was in


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        1    default?

        2    A.           Of course.

        3    Q.           Isn't it also true that when CBSG

        4    funds money, it expects to be repaid?

        5    A.           Yes.

        6    Q.           Isn't it true that when CBSG

        7    funds money, that it expects to be repaid

        8    whether the business is doing well or the

        9    business is doing poorly?

       10    A.           No.     I think that CBSG does a

       11    good job working out payments with people

       12    in general, I guess.

       13    Q.           When CBSG advances funds to a

       14    business, it expects, no matter what

       15    happens, that you're going to pay them

       16    back, and if you don't pay them back, CBSG

       17    is going to pursue any legal rights it has,

       18    right?

       19    A.           Sure.     Same way you guys probably

       20    would with your clients.

       21    Q.           Can you think of any circumstance

       22    where CBSG would say, "don't worry about

       23    it, you don't have to pay us back"?

       24    A.           You asked me that earlier, I


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        1    don't know what that means.

        2    Q.           Okay.    It's hard, and I

        3    understand your counsel's point.           I'm

        4    limiting my questions to Texas, which I

        5    would like to do at this point, but you're

        6    telling me you don't know how many CBSG

        7    customers from January 2015 to present were

        8    Texas residents, right?

        9    A.           Correct.

       10    Q.           And you haven't done anything

       11    prior to this deposition to ascertain that

       12    number, right?

       13    A.           No.

       14    Q.           You don't know whether it's 10,

       15    20, 50, 100, 1,000 or more?

       16    A.           I don't know.

       17    Q.           Do you have any concept whether

       18    Texas is a high volume state for CBSG?

       19    A.           I don't know about CBSG.         Just in

       20    the industry itself I could speak on

       21    because I do a lot of different deals with

       22    a lot of different lenders.

       23    Q.           Yeah.

       24    A.           There's some parts of Texas that


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        1    are good, that are busy, yeah.

        2    Q.           What parts of Texas are busy,

        3    generally?

        4    A.           Dallas is a big city, so there's

        5    a lot of business in Dallas.          But I

        6    wouldn't say Texas specifically is a big

        7    state.

        8    Q.           Do you have specific ISO's you

        9    deal with in Texas?

       10    A.           No.

       11    Q.           Does CBSG have ISO's for every

       12    state?

       13    A.           No, the ISO is -- you mean the

       14    independent offices, where are they

       15    located?

       16    Q.           Yeah.

       17    A.           I don't know.

       18    Q.           So maybe it's not necessary to be

       19    in a particular state.         Do you have a

       20    specific ISO, maybe you deal with in

       21    Pennsylvania, and may bring clients from

       22    states outside of Pennsylvania, right?

       23    A.           Sure.    You don't have to be in

       24    the state to transact business.


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        1    Q.           And going back to the form of the

        2    contract back in 2012, were you involved at

        3    all in preparing their original MCA formed

        4    contract?

        5    A.           No, I'm not a lawyer.

        6    Q.           Do you know how CBSG came up with

        7    the initial form?

        8    A.           No.

        9    Q.           Do you know whether they used

       10    some other MCA company's contract as a

       11    template for their agreements?

       12    A.           No.

       13    Q.           You said you were involved at the

       14    start back in 2012 with sort of structuring

       15    the types of products that would be

       16    offered?

       17    A.           Yeah, I'm into products, yes.

       18    Q.           So what was your experience with

       19    the MCA industry prior to 2012?

       20    A.           Experience?

       21    Q.           Yeah, did you deal with MCA

       22    companies as an ISO?

       23    A.           Yes.

       24    Q.           And you may have already


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        1    answered --

        2    A.           I already answered.

        3    Q.           What type of involvement would

        4    you have with the MCA companies?

        5    A.           Just in a sales capacity.

        6    Q.           I'm sorry, how many years were

        7    you doing that for?

        8    A.           Probably started in 2011.

        9    Q.           Did you ever work with a

       10    gentleman by the name of John Brawn?

       11    A.           No.

       12    Q.           Do you know who he is?

       13    A.           I've read about him.

       14    Q.           Why did you decide to have your

       15    wife structure her business as an MCA

       16    company?

       17                 MR. BERMAN:     Objection.

       18                 THE WITNESS:      For you to say I

       19    told my wife to do anything?          If you knew

       20    her, you'd take that.        She does her own

       21    thing.     She's a lot smarter than me.         Since

       22    you already exposed me, when I was in jail

       23    my wife had to fend for herself because

       24    she's very intelligent, very smart, and she


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        1    formatted this whole business.           I'm lucky

        2    to be involved in a sales capacity so I

        3    could have a job.       As a convicted felon,

        4    I'm lucky to have a position.

        5                 So my role in the company is on a

        6    sales level only.       I do not get involved

        7    with CBSG business, and I made that deal

        8    with my wife as soon as I came home.            So,

        9    that's how it operates and, you know, she's

       10    very capable.      So for you to say, it would

       11    be insulting to her, that I helped her

       12    somehow formulate this great business she

       13    has.

       14    BY MR. PROPER:

       15    Q.           I was only suggesting that

       16    because you had involvement with MCA

       17    companies, so let me start back.           Did your

       18    wife have some involvement with MCA

       19    companies prior to 2012?

       20    A.           No, but she has a lot of loan

       21    experience.      She was a mortgage broker, as

       22    I stated.

       23    Q.           Yeah, so do you know how your

       24    wife first became aware that there was this


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                                                                      Page 151
        1    concept of an MCA?

        2    A.           No.

        3    Q.           But the idea did not come from

        4    you?

        5    A.           No, I was in jail.       My wife

        6    started it herself.

        7    Q.           Do you know why your wife decided

        8    to structure her business as an MCA company

        9    versus just an alternative lender?

       10    A.           MCA is an alternative lender.

       11    Q.           Do you know why she structured

       12    her agreement as to purchase of future

       13    receivables as opposed to just a loan?

       14    A.           No.    If I had to make a guess, I

       15    think it's a better product than a loan.

       16    Everybody seems to think that a loan

       17    product is positive thing.          I don't see it

       18    that way.     I think you can do a lot more

       19    for merchants by having a merchant cash

       20    advance agreement.        You could be more

       21    nimble, and you could structure deals

       22    without having an amortization period to

       23    help clients grow their businesses.             And I

       24    think that's the reason why she has a two


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        1    percent default rate.

        2                 Her two percent default rate is

        3    really a tribute to her and putting

        4    together the underwriting guidelines, and I

        5    think it's a good thing.

        6    Q.           Do you know if CBSG ever makes

        7    payments on behalf of borrowers who were in

        8    default to make it look like the borrower

        9    is not in default?

       10    A.           Can you repeat that please?

       11    Q.           Do you know if CBSG ever makes a

       12    payment to itself when a borrower is in

       13    default to make it look like the borrower

       14    is not in default?

       15    A.           No.

       16    Q.           Do you know if CBSG is

       17    artificially misrepresenting its default

       18    rate to investors?

       19    A.           No.

       20    Q.           Do you know what --

       21    A.           Do you guys know what default is,

       22    by the way?

       23                 MR. HESKIN: I think we already

       24    discussed...


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        1                 MR. PROPER:     Your counsel is

        2    welcome to ask you that later.

        3                 MR. BERMAN:     Yeah.    Just...

        4    BY MR. PROPER:

        5    Q.           Do you know where CBSG gets its

        6    money to advance funds to borrowers?            Does

        7    it have a line of credit?         Does it do all

        8    types of debt financing through

        9    investments?       How does that work?

       10    A.           I think they have their own

       11    investment portfolio of people they work

       12    with, yeah.

       13    Q.           Do you know if CBSG has a line of

       14    credit with any lending facility?

       15    A.           I don't know.

       16    Q.           Do you know how the investment

       17    funds are set up?

       18    A.           Private placement memorandums.

       19    Q.           Have you ever read a private

       20    placement memorandum?

       21    A.           No.

       22    Q.           Do you know whether the private

       23    placement memorandum makes any

       24    representations to potential investors that


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        1    CBSG loans money to borrowers?

        2    A.           No.     I didn't read it.

        3    Q.           Okay.     How do you know there's a

        4    private placement memorandum?

        5    A.           Because we -- I saw it in the

        6    paper.     You saw the fine they had to pay,

        7    so they had to set up private placement

        8    memorandums, as you guys have in your

        9    documents, which I'm sure you'll get to

       10    next,

       11    Q.           I'm not going to get into that.

       12    A.           Okay.

       13    Q.           But I know what you're talking

       14    about, so thanks.

       15                 What can you tell me about Mr.

       16    Fleetwood's business.

       17    A.           Can I have my folder?

       18    Q.           What did you bring with you

       19    today?

       20    A.           Probably the same ones you have.

       21                 MR. BERMAN:     The only thing I'm

       22    going to pull out of here is, I think you

       23    may have an email from me.           Do you, Joe?

       24                 THE WITNESS:      No.


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        1                 MR. BERMAN:     You don't?     It's

        2    just documents?       Just making sure before

        3    you start looking through that.

        4                 THE WITNESS:      They can look

        5    through my documents?

        6                 MR. BERMAN:     They can.     If you

        7    start referring to things here, they can

        8    look at them.

        9                 THE WITNESS:      It's the same

       10    things he has.

       11                 MR. BERMAN:     Again, I just want

       12    to make sure you don't have an email from

       13    me.

       14                 THE WITNESS:      No.

       15                 MR. PROPER:     So you have a folder

       16    of documents in front of you, correct.

       17                 MR. BERMAN: They can look once

       18    you start talking about them.          I'm just

       19    telling you, which is fine.

       20                 MR. PROPER:     Well, I'm entitled

       21    to see your notes and other things.

       22                 MR. BERMAN:     No, you're not.

       23                 MR. PROPER:     I absolutely can.

       24                 THE WITNESS:      I just have a legal


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        1    pad with some notes here. You can look at

        2    them if you want.

        3    BY MR. PROPER:

        4    Q.           I don't mean to smile being

        5    sarcastic, but I've done this a long time

        6    and there's a first that happens all the

        7    time.

        8                 Are you telling me you had a

        9    folder of documents, but I can't see the

       10    folder of documents that were in front of

       11    you?

       12    A.           It's the same folder you have.

       13    Q.           How do you know what I have?

       14    A.           Why do you need to see my

       15    documents?

       16    Q.           Because I'm in the middle of a

       17    lawsuit and you brought documents here that

       18    you thought were relevant --

       19    A.           The same ones you have right

       20    there.

       21    Q.           How do you know they're the same

       22    ones I have?      You haven't seen my

       23    documents.

       24    A.           I just saw them.


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                                                                      Page 157
        1    Q.           You saw all my documents?

        2    A.           Yeah.    I see them sitting right

        3    there.     You have your factoring agreement.

        4    I thought we were going to go over the

        5    file.

        6    Q.           What documents did you bring?

        7    A.           The same ones you have.

        8    Q.           Which are what?

        9    A.           The factoring agreement that's in

       10    front of you.

       11    Q.           You have like a hundred plus

       12    pages of documents?

       13    A.           That's your opinion.        I didn't

       14    see a hundred pages?

       15    Q.           How thick was the manilla folder

       16    you had over there?        Two inches?     Three?

       17    A.           Okay.

       18    Q.           But you got more than a page?

       19    A.           It's the same as yours, right

       20    there.

       21                 MR. PROPER:     Can we take a break?

       22                 THE WITNESS:      I'll bet you.

       23                 MR. HESKIN: Do we need to call

       24    the court on this?


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        1                 MR. PROPER:     Let's take a break.

        2                              - - -

        3                 (Whereupon a short recess was

        4    taken.)

        5                              - - -

        6                 (Whereupon the court reporter

        7    marked P-1 for purposes of identification.)

        8                              - - -

        9    BY MR. PROPER:

       10    Q.           Taking a look at what's been

       11    marked as P-1, and I just want to know if

       12    you've ever seen that before?

       13    A.           Sure.    I wrote it.

       14    Q.           There's a picture of an

       15    individual depicted upon the bottom of P-1.

       16    Who is the individual with the beard?

       17    A.           I have no idea.

       18    Q.           Do you know why the article you

       19    wrote indicates that someone who is not you

       20    as being Joseph LaForte?

       21    A.           No, I have no idea.

       22    Q.           So you've never seen that

       23    individual before?

       24    A.           No.


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                                                                      Page 159
        1                         - - -

        2                 (Whereupon the court reporter

        3    marked P-2 for purposes of identification.)

        4                         - - -

        5    BY MR. PROPER:

        6    Q.           I'll show you what's marked as

        7    P-2, which is a document titled Factoring

        8    Agreement between CBSG and Fleetwood

        9    Services, LLC.        Do you see that?

       10    A.           Yes.

       11    Q.           Have you seen this document

       12    before?

       13    A.           Yes.

       14    Q.           Is this one of the documents that

       15    you brought with you today?

       16    A.           Yes.

       17    Q.           Okay.     What other documents did

       18    you bring with you today?

       19    A.           Just background on the file.

       20    Information on the client that might be

       21    good to answer questions you guys might

       22    have.

       23    Q.           When did you print the documents

       24    in your folder?


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        1    A.           A couple days ago.

        2    Q.           And did you print those documents

        3    to refresh your memory at all about the

        4    events that took place between CBSG and

        5    Fleetwood?

        6                 MR. BERMAN: You can answer it.

        7                 THE WITNESS:      Yeah.

        8    BY MR. PROPER:

        9    Q.           And you have some notes in front

       10    of you too.      Are those notes, or were those

       11    notes taken based upon your review of the

       12    documents in preparation for the

       13    deposition?

       14    A.           Yes.

       15    Q.           We ask for the production of the

       16    file that Mr. LaForte has?

       17                 MR. BERMAN:     You can see what he

       18    has.     I changed my mind.      You can look.

       19                 MR. PROPER:     Okay.

       20                 MR. BERMAN:     There's nothing

       21    there.     It's call documents produced in

       22    this case, or documents relevant.           We can

       23    pick our battles on other fights.

       24                 MR. PROPER:     Can we mark this as


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                                                                      Page 161
        1    P-3?

        2                        - - -

        3                 (Whereupon the court reporter

        4    marked P-3 for purposes of identification.)

        5                        - - -

        6    BY MR. PROPER:

        7    Q.           I'm just look at your note, Mr.

        8    LaForte, and there's a reference on the

        9    bottom of the first page.         "Get the

       10    business debt free"?

       11    A.           Yep.

       12    Q.           What is that?

       13    A.           I like to get all the customers I

       14    work with in consolidation programs to get

       15    debt free.

       16    Q.           You wanted Mr. --

       17    A.           I would like Mr. Fleetwood to get

       18    debt free because he had multiple advances,

       19    and I would like to see him get debt free.

       20    That was my notes at the time, and I wanted

       21    to make sure I could help the client.

       22    Q.           Were these your notes taken back

       23    in 2017 or taken recently?

       24    A.           I don't remember.       I don't


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                                                                      Page 162
        1    remember when I took them.

        2    Q.           Do you know if you took them two

        3    days ago?

        4    A.           I don't remember.

        5    Q.           And what is your notes on page

        6    two in reference to?

        7    A.           The client was paying $6,600 --

        8    $6,667.00 a day in cash advances before I

        9    got the file.        When I spoke to the client,

       10    they're in the golf course maintenance

       11    business.     The golf course maintenance

       12    business historically gets slower during

       13    the winter times.        She couldn't afford all

       14    the cash advances she had, which are on

       15    page one, if I could take a look?

       16    Q.           Sure.

       17    A.           Which consisted of five cash

       18    advances.     So, my job was to help the

       19    client get through -- not only get through

       20    the winter, but also lower their daily

       21    payments.     So the main concern, as I stated

       22    earlier in my testimony, is benefit to the

       23    customer.     The customer, the only way that

       24    the customer could have survived is if I


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        1    lowered the daily payment number one, and

        2    two, injected additional capital into the

        3    business.

        4                 So it's a twofold thing with this

        5    client.     Number one, the additional

        6    capital, the $100,000 that they received

        7    helped them get through the winter, and

        8    also they had a project that they were

        9    going to make a decent amount of money on

       10    that we gave them.        Number two, lower the

       11    daily payments.       If I had gave them another

       12    position like the rest of the deals as you

       13    see on P-3, you would have had a sixth

       14    position, and the client would have been

       15    bankrupt.

       16                 So, in this case, I'm very

       17    comfortable -- I was very comfortable with

       18    this deal because I lowered their payment

       19    by $6667.00.      On top of that, the

       20    additional $100,000 that they received,

       21    there was no daily payment on it.           There

       22    was no stack.      So, they actually received a

       23    $100,000 in financing for free, which was a

       24    total savings on the file of about $48,860


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                                                                      Page 164
        1    a month.

        2    Q.           So how much did CBSG advance to

        3    Fleetwood?

        4    A.           CBSG advanced to Fleetwood, on

        5    P-2, $370,000.00.

        6    Q.           And Fleetwood was required to pay

        7    back how much?

        8    A.           Fleetwood was required to pay

        9    back $547,600.00.

       10                 That's you, Pal.       I just wanted

       11    to make sure that my lawyer had that.

       12    BY MR. PROPER:

       13    Q.           And over what period of time did

       14    Fleetwood have to repay that?

       15                 THE WITNESS: Did you want to make

       16    a pee mark on that one, Bud?

       17                 What's that, Pal?

       18    BY MR. PROPER:

       19    Q.           Over what period of time?

       20    A.           It's 110 days.

       21    Q.           So what would the factor rate be

       22    on that, do you know?

       23    A.           Factor rate is about a 145.

       24    Q.           And was that a common factor rate


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        1    at the time for CBSG?

        2    A.           Sure.    It's a factor rate in the

        3    industry.     The factor rates initiated in

        4    her other advances.        Yellowstone's factor

        5    rate was a 149.       Richmond's factor rate was

        6    a 149.     Snaps was a 148.      NXGEN was a 149.

        7    And Pearl was a 149.

        8    Q.           Yeah, I --

        9    A.           I think more importantly than

       10    anything else is the term.          The reason why

       11    this customer fell into hard times before

       12    we got to the files is because the customer

       13    had $6,600 a day in daily payments on terms

       14    of less than 50 days.

       15                 PAR Funding came in and saved

       16    this company from bankruptcy.

       17    Q.           By lengthening the term?

       18    A.           But not lengthening the term,

       19    gave them $100,000 in fresh capital without

       20    charging them a daily payment.           There's no

       21    daily increase.       The actual net savings to

       22    this client is $4,300 a day.          That's almost

       23    $90,000 a month.       This customer would have

       24    been out of business if it wasn't for PAR


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        1    Funding.

        2    Q.           So, with respect to the factor

        3    rate, in your experience working with CBSG,

        4    a factor rate around 1.4 is fairly

        5    standard?

        6    A.           I won't say that.       I think it's

        7    standard for this file.

        8    Q.           What is the standard factor rate

        9    of CBSG deals?

       10    A.           Your client took these other

       11    advances to this same factor rate.            As a

       12    matter of fact, they were higher.

       13    Q.           Yeah.

       14    A.           There's not a standard.        I'm not

       15    going to tell you a standard, I'm talking

       16    about this file.

       17    Q.           I'm not asking about anyone other

       18    than CBSG.

       19    A.           I can't answer you because all

       20    the factor rates are different.

       21    Q.           I'm asking you whether or not

       22    there's a standard range of factor rates

       23    that CBSG has used between 2015 and

       24    present?


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        1    A.           No.     It could be a 1.01, could be

        2    a 1.49. There's no standards.

        3    Q.           Do you know whether or not CBSG

        4    has ever represented on its website

        5    anything about a standard factor rate?

        6    A.           I don't know.

        7    Q.           There's also a reference on P-2

        8    about a 25 percent specified percentage of

        9    receivables that are purportedly being

       10    purchased.      Do you see that?

       11    A.           Yes.

       12    Q.           So can you walk me through what

       13    CBSG did, if you know, in determining that

       14    the daily payment that Fleetwood was

       15    required to pay represented 25 percent of

       16    Fleetwood's daily receivables?

       17    A.           Sure.     The income received by

       18    Fleetwood is approximately a million a

       19    month when we underwrote the files.            25

       20    percent of that is $250,000 a month.            My

       21    payment was $5,000 a day.         5,000 times 22

       22    days is less than 25 percent.          So, actually

       23    the stated percentage holdback is a lot

       24    higher than it actually was.          We put it on


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        1    there to be careful, and it's actually

        2    less.    So the stated holdback on this file

        3    is probably about ten percent.

        4    Q.           So you weren't actually buying 25

        5    percent of the receivables -- you were

        6    buying 25 percent, but it was conservative?

        7    A.           No.    We try to figure out, to do

        8    a prudent deal, that 25 percent of the

        9    person's income should go towards cash

       10    advances.     Anything 30 or less is a good

       11    debt to income ratio.        Similar to a bank,

       12    which would be 30, 35 percent.           So how

       13    you're looking at it is wrong.           It's

       14    percentage of the income that that person

       15    could afford.       The stress test on these

       16    customers has to be -- this is where the

       17    problems come in the industry.

       18                 If you look, your client was

       19    paying $6,667 a day, and on top of that,

       20    it's a golf course company.          They needed

       21    100,000.      So I had two choices.        We could

       22    have been like the rest of these guys, gave

       23    them 100,000 at the same rate, and the

       24    payment would have been $2600 more a day,


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        1    or we can come up with a creative program,

        2    which we did, to lower the payment.            So we

        3    saved this client.        The client was paying

        4    $6000 a day, we brought the payment down to

        5    $5000 a day, without charging them for the

        6    100,000.

        7    Q.           So you consolidated all my

        8    clients debt?

        9    A.           Exactly.

       10    Q.           And they became debt free, and I

       11    bet they're still open?

       12    Q.           Well, they weren't really debt

       13    free; they owed your company $547,000?

       14    A.           We paid all these advances back

       15    for them.     They became debt free.        If you

       16    complete my program correctly, and if you

       17    can look at your consolidation calculator

       18    on here, that sheet.        If you complete the

       19    program, you're not going to have any debt.

       20                 MR. BERMAN:     What sheet are you

       21    referring to?      Is this something over there

       22    in your files?

       23                 THE WITNESS:      Yeah, I have it.

       24    BY MR. BERMAN:


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        1    Q.           I just want to explore this

        2    concept that when CBSG entered into a

        3    relationship with my client, my client no

        4    longer had debt?

        5    A.           No, I didn't say that.        I said

        6    when they finished the program, they

        7    shouldn't have had debt, that's correct.

        8    Q.           All right.     Because all of the

        9    debt would have been repaid to you?

       10    A.           I paid off all the debt.         I paid

       11    off all her advances for her.

       12    Q.           And then when my client was done

       13    with you, all the debt that my client owed

       14    to you would have been paid?

       15    A.           Of course.

       16    Q.           That I understand.

       17    A.           Okay.    So we paid off the

       18    client's debt.       Your client was out of

       19    business.     If I didn't give your client

       20    that 100,000 and lower their payment from

       21    56 percent of their income down to 21

       22    percent of their income, your client would

       23    have been out of business.

       24    Q.           How much did my client owe to the


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        1    other lenders before CBSG consolidated the

        2    loans?

        3    A.           $370,000.

        4    Q.           Okay, so when you say that you

        5    gave my client $100,000 of free money, it

        6    wasn't really free, right?

        7    A.           It was free.

        8    Q.           Well, my client owed $370,000

        9    before you.      And he owed $570,000 after

       10    you, that's not really flee?

       11    A.           It is free.

       12    Q.           How?

       13    A.           It's free because your client, we

       14    didn't increase their daily payment.

       15    There's a factor you put on, of course, the

       16    factor that was put on the market.

       17    Q.           Yeah.

       18    A.           But the payments were less.         This

       19    customer is in survival mode.          Your client

       20    went from $900,000 in deposits to $250,000

       21    in deposits when I saved them on Christmas,

       22    by the way, and your client cried to me at

       23    Christmas and I wanted to help.           We did a

       24    great deal and great service to your


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        1    client.

        2    Q.           Mr. LaForte, so as part of the

        3    transaction with my client, did CBSG pay

        4    off the monies that my client owed to the

        5    other lenders?

        6    A.           Yes.

        7    Q.           Okay, so where he was paying

        8    Yellowstone and others before, you paid off

        9    all of those and then now instead of my

       10    client owing $370,000, he gets $100,000 of

       11    fresh money.        There's a factor rate on that

       12    fresh money, and my client now has to pay

       13    $570,000 over a longer term, which then

       14    lowers the daily payment?

       15                 MR. BERMAN:     Objection.

       16                 THE WITNESS:      Yes.

       17    BY MR. PROPER:

       18    Q.           I'm trying to understand the

       19    structure to boil it down.

       20    A.           Can I see the consolidation

       21    calculator?

       22                 MR. BERMAN:     Let's mark these.

       23                         - - -

       24                 (Whereupon the court reporter


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                                                                      Page 173
        1    marked P-4 and P-5 for purposes of

        2    identification.)

        3                         - - -

        4    BY MR. PROPER:

        5    Q.           Let's start with P-4, which is

        6    one of the documents that you brought with

        7    today, correct?

        8    A.           Yes.

        9    Q.           What is P-4?

       10    A.           It's a financial analysis of your

       11    client.

       12    Q.           Generated by whom?

       13    A.           CBSG.

       14    Q.           What is some of the information

       15    that's on that financial analysis?

       16    A.           In September the gross deposits

       17    for the client were 997,000.          Golf

       18    business, Texas.        Obviously it's a good

       19    time of year for golf and in Texas the

       20    weather is pretty good.

       21                 October the deposits went down

       22    from $997,000 down to $769,000, so she's

       23    trending down almost down about 20 percent.

       24                 November, $396,000 in deposits,


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        1    it's getting worse for your client.

        2                 December, $261,785 in deposits

        3    for the month.       Now your client is

        4    completely upside down because at 261, it's

        5    going to be very tough for the client to

        6    get through the next phase of the business,

        7    which usually, from my understand from what

        8    your client had mentioned to me, they had a

        9    golf course project coming up in February.

       10    So my job was to get her to February.            So

       11    from December -- from January 4 to

       12    February, my job was to get your client

       13    into a situation where A, I could finance

       14    their new project and B, I can lower their

       15    payments so they can keep their doors open.

       16    Q.           And what is exhibit-5?

       17    A.           So we decided that, because these

       18    aren't amortized obligations, I don't

       19    necessarily want to pay off the cash

       20    advances directly.        I let the client pay

       21    them off, and there's a couple reasons for

       22    that.

       23                 Number one, the cash advances

       24    will get really aggressive back at our


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        1    clients if they find out once they're free

        2    and clear of the debt, so what we do is, we

        3    give them the money on a weekly basis.             We

        4    let the clients pay them off.

        5                 So on the first transaction, we

        6    funded the client $113,000.          $100,000 to

        7    grow their business, and $33,000 to pay off

        8    their cash advances.

        9    Q.           So the cash advance companies are

       10    not paid back in one consolidation?            It's

       11    not like when you advance funds to my

       12    client, you're simultaneously paying off

       13    the other lenders you're not doing that,

       14    right?

       15    A.           No.

       16    Q.           You're actually giving money to

       17    my clients, some of which is new capital.

       18    Some of which is money that was intended to

       19    pay off the lenders that he had a

       20    relationship with before you?

       21    A.           Correct.

       22    Q.           That I understand.       And you were

       23    aware that my client had these other

       24    arrangements with these other lenders


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        1    before the consolidation, right?

        2    A.           What other arrangements?

        3    Q.           You knew that my client had

        4    existing agreements with other lenders at

        5    the time he came to you, right?

        6    A.           Of course.

        7    Q.           Because I think on P-3, your

        8    notes, you've got some other companies

        9    written down and amounts next to it. For

       10    instance, it looks like you got Yellow,

       11    which I assume you mean Yellowstone?

       12    A.           Uh-huh.

       13    Q.           $70,000?

       14    A.           Yes.

       15    Q.           And then who is the second

       16    company?

       17    A.           Richmond.

       18    Q.           $80,000?

       19    A.           Uh-huh.

       20    Q.           And then you got Snap at $40,000.

       21    A.           Uh-huh.

       22    Q.           Then who's next?

       23    A.           NXGEN.

       24    Q.           At $30,000.     Then you got Pearl


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        1    at $50,000, right?

        2    A.           Correct.

        3    Q.           Okay, so do you know whether all

        4    these other companies on P-3 purported to

        5    purchase a percentage of my clients future

        6    receivables?

        7    A.           I don't understand the question.

        8    Q.           Did you ask my client to provide

        9    copies of his agreement with Yellowstone,

       10    Richmond, Snap, NYGEN and Pearl?

       11    A.           It's in the exhibits your client

       12    wrote out a sheet, if you can take a look

       13    in your file.

       14    Q.           Yeah.    Did you understand that

       15    those agreements were structured as loans,

       16    or whether the document was structured

       17    similar to an MCA agreement?

       18                 MR. BERMAN: Objection.        You can

       19    answer.

       20                 THE WITNESS:      They're MCA

       21    agreements.

       22    BY MR. PROPER:

       23    Q.           So in each of those MCA

       24    agreements with Yellowstone, Richmond,


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        1    Snap, NYGEN and Pearl, my client purported

        2    to sell some percentage of his future

        3    receivables, correct?

        4    A.           Correct.

        5    Q.           So if you were to add up all the

        6    percentage of future receivables that my

        7    client purported to have sold, adding you

        8    to that list, do you know if that number is

        9    more or less than an hundred percent?

       10                 MR. BERMAN:     Objection. You can

       11    answer.

       12                 THE WITNESS:      It's a lot less.

       13    BY MR. PROPER:

       14    Q.           Okay, so what percentage of

       15    future receivables did my client purport to

       16    see you?

       17    A.           It's in contract.

       18    Q.           To Yellowstone, how much?

       19    A.           $70,000.

       20    Q.           What percentage of his

       21    receivables is on the contract between my

       22    client and Yellowstone?

       23    A.           Well, $604,000, so if you take

       24    $70,000 and divide it into 604 average,


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        1    that's the percentage.

        2    Q.           Do you know what the actual

        3    contract says?

        4    A.           How can I know what's going to

        5    happen in the future?        I don't know what

        6    can happen in the future.

        7    Q.           I'm just asking you whether or

        8    not you've seen the contract between

        9    Yellowstone and my client?

       10    A.           I don't remember.       It was a very

       11    long time ago.

       12    Q.           Okay.    Do you recall having seen

       13    any of the contracts between the six

       14    companies or five companies you have

       15    written down?

       16    A.           I'm sure we have them, but I

       17    haven't seen them in a while.

       18    Q.           Do you know, looking at the

       19    contracts, not the amount of money that was

       20    outstanding, that based upon the contracts

       21    how much of my clients receivables he

       22    purportedly agreed to sell to those five

       23    businesses?

       24    A.           Again, I'll repeat myself.         It


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        1    says your client was averaging $604,000.

        2    He had already sold off about $340,000 of

        3    his receivables, but had had lower balances

        4    which was probably 240, about 30 percent

        5    probably before I got involved, yeah.

        6    Q.           You're saying the total before

        7    you got involved, he had already sold to

        8    those five businesses 30 percent?

        9    A.           Probably.

       10    Q.           But you don't know what the

       11    contracts say my client had sold, right, at

       12    least you don't recall?

       13    A.           What the contract said?

       14    Q.           Yeah.    Do you recall specifically

       15    what Yellowstone claims to have purchased

       16    from my client in terms of a percentage of

       17    receivables, do you recall that?

       18    A.           No, I don't recall that, but they

       19    do purchase receivables.

       20    Q.           Do you recall from a contract,

       21    how much Richmond purported to have

       22    purchased from my client?

       23    A.           No.

       24    Q.           Do you recall from a contract,


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        1    how much NYGEN, Pearl, or Snap purported to

        2    purchase from my client in terms of his

        3    receivables?

        4    A.           You're being misleading.

        5    Q.           How?

        6    A.           I'll tell you why.       Because the

        7    contracts say the amount that you can't

        8    sell more than on the faceplate of the

        9    contract, so you're being misleading.

       10    There's no separate sale.         It's only the

       11    faceplate of the contract.          Your client

       12    wrote down exactly what they have, and I

       13    have the contracts.

       14                 MR. BERMAN:     Are you referring to

       15    a document you brought, so there's no lack

       16    of clarity?      Like some document you have.

       17                 THE WITNESS:      Yeah, the client

       18    wrote it, or it would be fraud if it they

       19    wrote down something that was incorrect.

       20    BY MR. PROPER:

       21    Q.           So where is the document that my

       22    client --

       23                 MR. BERMAN: You brought a file,

       24    just direct him.


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        1                 THE WITNESS:      I'll show you the

        2    document that you're the document that your

        3    client signed or filled out in order to

        4    request services.

        5                        - - -

        6                 (Whereupon the court reporter

        7    marked P-6 for purposes of identification.)

        8                        - - -

        9    BY MR. PROPER:

       10    Q.           So here is P-6, and my client has

       11    the outstanding balances and the daily

       12    payments to the five companies that we've

       13    spoken about, right?

       14    A.           Yes.

       15    Q.           So where does my client represent

       16    on that document the percentage of

       17    receivables that he purported to have sold

       18    and these companies purported to have

       19    purchased?

       20    A.           Right there in the balance.

       21    Q.           That's the outstanding balance.

       22    So how much --

       23    A.           He only owes the balances.         When

       24    you receive sell the receivable, as you


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        1    make your payments, it becomes less, so

        2    this is all he owes.        There's no other

        3    purported, unless there's a document I

        4    don't know about.       There's no other

        5    purported receivable that he could sell.

        6    Q.           What was the original amount for

        7    each of those transactions?

        8    A.           I could -- I would to look in the

        9    file, look into the actual contracts.            My

       10    guess would be -- I'll give you the exact

       11    numbers if you'd like.

       12    Q.           So you're going to multiply --

       13    A.           Do you want the exact numbers?

       14    I'll do it.

       15    Q.           I can do the math.       I just want

       16    to make sure we're on the same page.

       17    You're multiplying the daily payment by the

       18    term, right?      And then come out with the

       19    amount that was required to be repaid?

       20    A.           Uh-huh.

       21    Q.           Got it.    I can do the math.

       22                 That's how you would determine

       23    the rate, too, right?

       24    A.           The cash advance companies, and


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        1    this is one of the things that I discussed

        2    with Mr. Fleetwood.         The cash advance

        3    companies, these aren't goods companies, in

        4    my opinion.      They escalated the payments

        5    ,So if you look, these terms that she put

        6    in here are not the same as the payments

        7    that are coming out.         So if you look, 12

        8    months at $1370 a day on $40,000 doesn't

        9    match, so the information was incorrect.

       10    So the terms on this are wrong.           Your

       11    client filled this out incorrectly.

       12    Q.           Well, this is just the

       13    outstanding balances, meaning he had

       14    already paid down some of the amount that

       15    was owed, right?

       16    A.           He didn't, no.      The contracts

       17    were different.       No.

       18    Q.           All right.      So, if you were to

       19    try to calculate what the rate is that was

       20    charged to my client, how would you go

       21    about doing that from this information?

       22    A.           I would say the rates were around

       23    the 145 to 147.

       24    Q.           How do you calculate that?


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        1    A.           Just knowing the companies that

        2    are on this list you can figure it out.

        3    Q.           Is there a way you can do the

        4    math with the information?

        5    A.           You would have to pull the

        6    contract.     Do you have the contracts?         I

        7    can figure it out for you.          It's your

        8    clients.     I'm sure you have them.

        9    Q.           I'm just asking, how would you

       10    calculate a factor rate?

       11    A.           You can calculate a factor rate

       12    taking the amount that you're going to fund

       13    the company, multiply by the factor rate,

       14    it gives you the right to return, the RTR

       15    on the file.

       16    Q.           How do you back into -- how do

       17    you solve for the factor rate?           Do you have

       18    the information what the daily payment, and

       19    the term, and the balance in order to

       20    calculate a factor rate from that

       21    information?

       22    A.           Sure, we can figure it out.

       23    Q.           How would you calculate it?

       24    A.           Take the original advance, times


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        1    the payment, figure out what the RTR is.

        2    Q.           Got it.    Does CBSG guarantee a

        3    certain rate of return to its investors?

        4                 MR. BERMAN:     Objection.     You

        5    don't have to answer about investors.

        6                 THE WITNESS:      Do you think this

        7    was a good deal for your client?           I know

        8    you're asking the questions, but don't you

        9    think we did a nice job for this client?

       10    What's your opinion on that guys?

       11                 MR. PROPER:     One, I'm not going

       12    to answer questions, and you wouldn't like

       13    my answer.      So it's not productive.

       14                 THE WITNESS:      Save $4,000 a day

       15    and give you $100,000 to keep your doors

       16    open, and that's not a good deal?

       17    BY MR. PROPER:

       18    Q.           Do you know what the usuary

       19    statute is in the State of Texas?

       20    A.           This is a cash advance.        This is

       21    a purchase of future receivables, we're not

       22    a loan.

       23    Q.           I'm just asking a question.          Do

       24    you know what the usuary laws are in the


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        1    State of Texas?

        2    A.           No.

        3    Q.           Do you know what Texas says the

        4    maximum rate of legal interest is that can

        5    be charged through a Texas business?

        6    A.           I don't do loans.

        7    Q.           Okay.    Have you ever done any

        8    research to determine what the usuary laws

        9    are in any particular state?

       10    A.           I wouldn't need to look at any

       11    research, it's a purchase of receivables,

       12    it's a factoring agreement.

       13    Q.           Is one of the reasons that the

       14    company is structured as an MCA company is

       15    to avoid the usuary laws?

       16    A.           No.

       17    Q.           That has nothing to do with why

       18    you're structuring these on paper as a

       19    purchase of receivables and not a loan?

       20    A.           We have a 98 percent rate of

       21    clients that are satisfied.          They like to

       22    speed, loans are too slow.          They're too

       23    nimble and too expensive, so if you really

       24    breakdown, if you guys want to get into it,


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        1    we can have a big debate on the SBA.

        2    That's a much more expensive and cumbersome

        3    product, clients don't want it.           You guys

        4    don't have your finger on the poll, so it's

        5    gone.    These people have opportunity and

        6    they need capital.        Are there bad

        7    companies?      Yeah, but there's bad in

        8    everything.      Our company, PAR Funding, does

        9    a great job in lowering people's payments

       10    and shows a lot of benefit to all of our

       11    customers.

       12    Q.           The $300,000 and some thousand

       13    that you provided to my client, what was

       14    the source of those funds?

       15    A.           I don't know.

       16    Q.           Do you know which investors

       17    provided the money for that?

       18                 MR. BERMAN: Objection.

       19    BY MR. PROPER:

       20    Q.           Do you know if it came from

       21    Reticular Fund?

       22    A.           I don't know.

       23    Q.           Do you know whether the fund

       24    that's used is common to fund all MCA


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        1    transactions?

        2    A.           I have no idea.

        3    Q.           Who at CBSG would know what the

        4    source of funds are for a particular MCA

        5    transaction?

        6    A.           I don't know.

        7    Q.           Would Mr. Cole know?

        8    A.           I don't know.        I mean you guys

        9    know these aren't syndicated transactions,

       10    right.

       11    Q.           You mean securitized?

       12    A.           No.    Syndicated.

       13    Q.           Syndicated in what respect?

       14    A.           It's not a per transaction where

       15    any company that would take one specific

       16    transaction and try to get an investor to

       17    invest in one transaction.

       18    Q.           I understand that.

       19    A.           You asked me that question.

       20    Q.           Let me ask you this question, do

       21    you know whether or not an investor that

       22    invests in CBSG, let's say $250,000, where

       23    that money will be earmarked for a specific

       24    set of transactions?


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        1    A.           No, wouldn't be earmarked for any

        2    specific transaction.        I would imagine.

        3    Q.           Do you know that specifically?

        4    A.           No, but I would imagine that to

        5    be an absurd assumption.

        6    Q.           So you don't know if there's a

        7    note between CBSG and an investor which

        8    says, I'm going to provide you with a

        9    certain rate of return over a period of

       10    time, and then within that agreement

       11    there's specific agreements that are

       12    referenced?

       13                 MR. BERMAN:     Objection.

       14                 THE WITNESS:      I don't know.

       15    BY MR. PROPER:

       16    Q.           Here's P-7.     Do you know what

       17    this document is, which titled Fleetwood

       18    Services Funding Payment History?           Have you

       19    seen this document before?

       20    A.           No.

       21    Q.           So on page two of this document

       22    there's a reference, or two references to

       23    finance fees.       What were those charges for,

       24    exactly?


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        1    A.           Your client -- it looks like your

        2    client kept our capital -- let's see, they

        3    modified their payments, so we charge a

        4    finance fee, a small fee if they modify

        5    their payments.       In this case she lowered

        6    her payment from $5,000 to $3,250, and we

        7    charged $7,000 to cover our cost to

        8    capital.

        9    Q.           Does that require a new agreement

       10    when the daily payment is modified or

       11    reduced?

       12    A.           I don't know about the legal; I'm

       13    not sure.

       14    Q.           Okay.    You don't know whether

       15    CBSG requires an borrower to execute a new

       16    agreement when there's a reduction?

       17    A.           I'm not sure, you have to ask

       18    legal.

       19    Q.           Who is the in-house counsel at

       20    CBSG?

       21    A.           I don't know.

       22    Q.           Do you know who Mr. Hartley is?

       23    A.           Yes.

       24    Q.           Is he presently in-house counsel


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        1    for CBSG?

        2    A.           I don't think so.

        3    Q.           Has he ever been in-house

        4    counsel?

        5    A.           I don't know.      I'm he's a lawyer.

        6    Q.           Okay.     When you say there's a

        7    small fee charged if an agreement is

        8    modified, was that CBSG's practice whenever

        9    there was a workout?

       10    A.           Yeah, if a client is going to

       11    keep the capital longer, they should pay a

       12    fee.

       13    Q.           Got it.

       14    A.           And sometimes it's appropriate

       15    for us to charge a fee, the clients agree,

       16    which they usually do sign a new agreement.

       17    Like I said if you're keeping the capital

       18    longer, they should charge a fee.

       19    Q.           Is there anything in the

       20    agreement, exhibit P-2, which permits CBSG

       21    to charge a finance fee if --

       22    A.           I didn't read that.       I don't

       23    know.

       24    Q.           Do you recall have you ever read


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                                                                      Page 193
        1    the agreement between my client and

        2    Fleetwood?

        3    A.           Did I read that agreement?

        4    Q.           Yeah.

        5    A.           No.

        6    Q.           When's the last time that you've

        7    referred to CBSG's standard contract with

        8    its borrowers for any purpose?

        9                 MR. BERMAN: Objection.

       10    BY MR. PROPER:

       11    Q.           You can answer.

       12    A.           Can you ask me again?

       13                         - - -

       14                 (Whereupon the court reporter

       15    read back the requested portion of

       16    testimony.)

       17                         - - -

       18                 THE WITNESS:      I don't know.

       19    BY MR. PROPER:

       20    Q.           Is there ever a purpose that you

       21    would look at CBSG's contract?

       22    A.           No.

       23    Q.           Okay.     I saw an article written

       24    about one of the individuals that were


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                                                                      Page 194
        1    involved in that securities fine thing by

        2    the name of Dean Vagnose.         Do you have any

        3    interaction with him?

        4    A.           Not really.

        5    Q.           Are there any occasions that y0ou

        6    would interact with Mr. Vagnose?

        7    A.           No.

        8    Q.           This is more for my own personal

        9    knowledge, but I saw in some reference that

       10    you may have called for the Mariners?

       11    A.           I did.

       12    Q.           What years were you involved?

       13    A.           1992.

       14    Q.           Were you involved with their

       15    minor league organization too?

       16    A.           Yes.

       17    Q.           Where are they based out of?

       18    A.           Fiora, Arizona.      I played

       19    baseball at Rollins College before that.

       20    Q.           That's what I was going to ask.

       21    A.           And then just a little too small.

       22    Q.           Mr. LaForte, in the transactions

       23    between CBSG and the customers you deal

       24    with, do the customers typically have


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        1    attorneys involved?

        2    A.           No.

        3    Q.           Can you recall any instance, say

        4    in the last year, when the customer was

        5    represented by counsel?

        6    A.           In the initial portion of the

        7    transaction?

        8    Q.           Yeah.

        9    A.           No.     What I'll do is, I'll speak

       10    to the CFO's of the company to make sure

       11    they understand the documents.

       12    Q.           Okay.     Is there negotiation back

       13    and forth about the terms of the agreement,

       14    or to do the customers just sign them?

       15    A.           No, there's a lot of negotiation.

       16    I think it's important to put a good deal

       17    together for the client.         Sometimes they

       18    have their own opinion about a file.            We

       19    can structure it differently for everybody

       20    so it depends.

       21    Q.           When is the last time you recall

       22    that the remedies or default provision in

       23    CBSG's contract was negotiated or changed

       24    in any way?


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        1                 MR. BERMAN:     Objection.

        2                 THE WITNESS: I don't know.

        3    BY MR. PROPER:

        4    Q.           Do you know if that's ever

        5    happened?

        6    A.           I'm not in legal.       I don't know.

        7    Q.           I'm just asking, in your

        8    experience, do you recall any instance

        9    where one of the form provisions in CBSG's

       10    contract was negotiated and changed for a

       11    particular business?

       12    A.           No, I don't know.

       13    Q.           Okay.    Are you the one that is

       14    interacting with the customer and ensuring

       15    that the customer signs all the documents

       16    that    are required or does someone else do

       17    that?

       18    A.           No, CBSG does that.

       19    Q.           Is there a closer at CBSG?

       20    A.           A closer?

       21    Q.           Yeah, or a processor or someone

       22    that handles the paperwork with the

       23    customer?

       24    A.           No, Full Spectrum handles the


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                                                                      Page 197
        1    paperwork, but CBSG ultimately gets the end

        2    docs.

        3    Q.           But CBSG did that process itself

        4    before Full Spectrum got involved, right?

        5    A.           I don't know what you mean?

        6    When?    You said before, it's vague.

        7    Q.           Well, I thought before Full

        8    Specturm, CBSG did their own underwriting.

        9    Did they do their own processing as well?

       10    A.           Well, they'd have to, right?

       11    Q.           That's why I was asking. I was

       12    wondering if you knew who at CBSG was

       13    fulfilling that function?

       14    A.           I don't know.

       15    Q.           Okay.    Do you know how many

       16    iterations or versions of the MCA agreement

       17    were used for Texas customers since January

       18    2015?

       19    A.           What's an iteration?

       20    Q.           Versions.

       21    A.           No.

       22    Q.           Do you know if there was more

       23    than one version that's been used for Texas

       24    business since January of 2015?


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                                                                      Page 198
        1    A.           No.

        2    Q.           Do you know if there's any

        3    material differences in the MCA agreements

        4    between different Texas businesses and

        5    CBSG?

        6    A.           No.

        7    Q.           You may have touched on this, but

        8    just to elaborate, do you know what the

        9    formula that was used for determining the

       10    fair market value of the receivables for my

       11    client?

       12    A.           Yeah, it's right here, P-4.

       13    Q.           So the formula is what?

       14    A.           You don't want to be over 30

       15    percent in debt to income ratios.

       16    Q.           Is that a standard for all

       17    transactions with businesses with CBSG,

       18    whether it's a Texas business or otherwise?

       19    A.           No, no standard formula with

       20    anything.     You have to work with the

       21    customers, specifically your client if you

       22    want to talk about this client.           The tricky

       23    part of it was, she couldn't afford all the

       24    dailies.     She only did five deposits a


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        1    month coming into December.          The client

        2    started to struggle.        The bigger issue is,

        3    they needed $100,000, and their cash flow

        4    was getting eaten up.        So I provided the

        5    $100,000 in financing to them and lowered

        6    their payment.

        7    Q.           Is the manner in which CBSG

        8    marketed itself to my client the same for

        9    everyone in terms of --

       10    A.           We didn't market your client, we

       11    came from an ISO.

       12    Q.           That's what I mean.       One of the

       13    ways that CBSG relies upon new business is

       14    its ISO's, right?

       15    A.           Yes.

       16    Q.           Do you know what percentage of

       17    CBSG's business comes from ISO's?

       18    A.           No.

       19    Q.           Do you know if the manner in

       20    which ISOs solicit businesses in Texas is

       21    standard for how my client was solicited?

       22    A.           I don't know.      I can't ansnwer

       23    how an ISO would solicit this particular

       24    customer in 2017.


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        1    Q.           Okay.

        2                 - - -

        3                 (Whereupon a short recess was

        4    taken.)

        5                 - - -

        6                 MR. PROPER:     So, I want to thank

        7    Mr. LaForte for his time.         I have no

        8    further questions of him.         In light of his

        9    testimony that he's really not involved

       10    with investors, I did not want to bother

       11    Judge Sanchez with the issue of whether

       12    we're entitled to discovery regarding CBSG

       13    investors.      We will make a motion to compel

       14    and the Court can deal with that so we have

       15    appropriate guidance in future depositions

       16    with appropriate witnesses.

       17                 MR. BERMAN: And just for clarity,

       18    we're not keeping Mr. LaForte's deposition

       19    open, it's closed.        If they want an

       20    opportunity to ask him any of those

       21    questions, they have the opportunity, per

       22    the Court's direction, from his clerk to

       23    call now.

       24                 MR. PROPER:     That's true.      Just


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        1    based upon Mr. LaForte's testimony, he does

        2    not appear to be the right witness.

        3                 MR. HESKIN: Assuming we can take

        4    his testimony on --

        5                 MR. BERMAN: We don't agree or

        6    disagree.     For this purpose, we'll just

        7    fight about that another day.

        8                 MR. HESKIN:     Sure.    He said he

        9    doesn't know anything about it.

       10                 So there's no reason to call the

       11    Judge.

       12                 MR. BERMAN: Okay.       Got it.

       13                 - -

       14                 (Whereupon the witness was

       15    excused and the deposition ended at 3:46.)

       16

       17

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        1                INSTRUCTIONS TO WITNESSES

        2            Read your deposition over carefully.

        3    It is your right to read your deposition

        4    and make changes in form or substance.             You

        5    should assign a reason in the appropriate

        6    column on the errata sheet for any change

        7    made.     After making any change in form or

        8    substance which has been noted on the

        9    following errata sheet along with the

       10    reason for any change, sign your name on

       11    the errata sheet and date it.          Then sign

       12    your deposition at the end of your

       13    testimony in the space provided.           You are

       14    signing it subject to the changes you have

       15    made in the errata sheet, which will be

       16    attached to the deposition before filing.

       17    You must sign it in front of a witness.

       18    Have the witness sign in the space

       19    provided.     The witness need not be a notary

       20    public.     Any competent adult may witness

       21    your signature. Return the original errata

       22    sheet & transcript to deposing attorney,

       23    (attorney asking questions) promptly!

       24                 Court rules require filing within


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        1    30 days after you receive the deposition.

        2    Thank you.
        3                 I have read the foregoing

        4    deposition and the answers given by me are

        5    true and correct, to the best of my

        6    knowledge and belief.
        7

        8
        9

       10                 _______________________
                               JOSEPH LaFORTE
       11

       12

       13    ___________________________
             WITNESS TO SIGNATURE
       14
             ___________________________
       15    ADDRESS

       16

       17
                                My Commission Expires
       18
                                .....................
       19

       20
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        1                            ERRATA SHEET

        2    PAGE LINE #        CHANGE        REASON THEREFORE

        3    __________________________________________

        4    __________________________________________

        5    __________________________________________

        6    __________________________________________

        7    __________________________________________

        8    __________________________________________

        9    __________________________________________

       10    __________________________________________

       11    __________________________________________

       12    __________________________________________

       13    __________________________________________

       14    __________________________________________

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       16    __________________________________________

       17    __________________________________________

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       19    __________________________________________

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       24    __________________________________________


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